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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


PEYMAN FARZINPOUR,                        :
                                          :
                        Plaintiff,        :     Civil Action No.
                                          :
            -against-                     :     COMPLAINT
                                          :
BERKLEE COLLEGE OF MUSIC, and             :     JURY TRIAL DEMANDED
BERKLEE BOARD OF TRUSTEES,                :
                                          :
                        Defendants.       :
______________________________________________________________________________


       Plaintiff Peyman Farzinpour (“Plaintiff” or “Farzinpour” or “Professor Farzinpour”), by

his attorneys Nesenoff & Miltenberg, LLP, and by Jeannie Suk Gersen, as and for his Complaint,

respectfully alleges as follows:

                               THE NATURE OF THIS ACTION

       1.       This case arises out of the actions taken and procedures employed by Berklee

College of Music (“Berklee” or “the College”) as a result of false allegations of sexual harassment

made by a Berklee student against Plaintiff Peyman Farzinpour.

       2.       In investigating and adjudicating the false allegations against Professor Farzinpour,

an accomplished and respected musician, conductor, composer, and professor, Berklee deprived

Plaintiff of basic fairness when it conducted a disciplinary process that was neither thorough nor

impartial, exhibited gender bias against Professor Farzinpour as an accused male employee, and

deprived him of his basic rights to a fair proceeding, including access to evidence and the

opportunity to be heard by an impartial decisionmaker. At the end of its biased and unfair

investigation, Berklee imposed a suspension on Professor Farzinpour for thirty (30) days without

compensation.

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       3.       Within weeks of his return to teaching after completing the suspension, Plaintiff

Farzinpour was suddenly and wrongfully terminated from his employment altogether, without

notice or allegation of a policy violation, opportunity to be heard, investigation, or any process

whatsoever.

       4.       A non-exhaustive list of Defendant Berklee’s wrongful actions includes the

following: (i) failure to afford a fair and unbiased investigation, (ii) failure to make any attempt to

obtain and consider potentially exculpatory evidence requested by Plaintiff, (iii) failure to apply

the requisite standard of evidence, (iv) failure to interview relevant witnesses to corroborate his

account of the events that transpired, (v) failure to respond to retaliatory conduct against Plaintiff,

(vi) permitting breach of confidentiality in the investigatory process, (vii) failure to expeditiously

conduct the investigation in the specified time period, (viii) wrongfully suspending Plaintiff

without providing him a meaningful opportunity to defend himself against the conduct alleged,

and (ix) ultimately terminating Professor Farzinpour without notice, opportunity to be heard,

investigation, or proceeding of any kind.

       5.       As a result of Defendants’ discriminatory and unlawful conduct, Plaintiff

Farzinpour was placed on an involuntary leave, suspended without pay for thirty (30) days, and

eventually terminated from employment.

       6.       Plaintiff, therefore, brings this action for relief based on causes of action for

violations of Title IX, breach of contract, denial of basic fairness/arbitrary and capricious decision-

making, and other state law causes of action.1




1
 Plaintiff is simultaneously filing charges of employment discrimination with both the Equal Employment
Opportunity Commission and the Massachusetts Commission Against Discrimination, and intends to
amend the Complaint to include relevant federal and state claims once he receives a right to sue.
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                                          THE PARTIES

       7.       Plaintiff Peyman Farzinpour is a resident of the State of Rhode Island. At all

relevant times, Plaintiff Farzinpour was employed by Defendant Berklee College.

       8.       Upon information and belief, Defendant Berklee College of Music is a private

college located in Boston, Massachusetts, with an additional campus in Valencia, Spain.

       9.       Upon information and belief, Defendant Berklee Board of Trustees is the governing

body of Berklee.

                                 JURISDICTION AND VENUE

       10.      This Court has federal question, diversity, and supplemental jurisdiction pursuant

to 28 U.S.C. §§ 1331–1332, 1367 (2018) because: (i) the federal law claim arises under the

Constitution and statutes of the United States, (ii) the parties are citizens of different states, and

(iii) the state law claims are so closely related to the federal law claims as to form the same case

or controversy under Article III of the United States Constitution.

       11.      This Court has personal jurisdiction over Defendant Berklee on the grounds that it

conducts business within the Commonwealth of Massachusetts.

       12.      This Court has personal jurisdiction over Defendant Berklee Board of Trustees on

the grounds that it is the governing body of Berklee and, thus, conducts business within the

Commonwealth of Massachusetts.

       13.      At all relevant times, the actions and events discussed herein transpired within the

Commonwealth of Massachusetts.

       14.      Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because Berklee College is considered to reside in this judicial district.




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                     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

      I.         Berklee Has Faced Public Pressure on Sexual Harassment Complaints

           15.      On April 4, 2011, the Office for Civil Rights (“OCR”) in the United States

Department of Education (“DOE”) issued a guidance document on sexual violence, the “Dear

Colleague Letter” (“DCL”), U.S. Department of Education, Dear Colleague (Apr. 4, 2011),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf         [hereinafter        Dear

Colleague Letter or DCL], interpreting Title IX of the Education Amendments of 1972, 20 U.S.C.

§ 1681 et seq., and its regulations, 34 C.F.R. Part 106 (2018). Title IX’s regulations require

colleges and universities to have prompt and equitable grievance procedures to resolve complaints

of sex discrimination, including sexual harassment. While directing schools “to take immediate

action to eliminate the harassment, prevent its recurrence, and address its effects,” Dear Colleague

Letter, supra, at 4, the DCL de-emphasized fair process by, among other things, being silent on a

presumption of innocence, directing schools to “minimize the burden on the complainant,” id. at

15–16, limiting cross-examination, id. at 12, requiring use of the “preponderance of the evidence”

standard rather than the higher “clear and convincing evidence” standard, which some colleges

were using, id. at 11, and prohibiting certain forms of alternative dispute resolution, id. at 8.

           16.      In a related guidance document published on April 29, 2014, the U.S. Department

of Education, Questions and Answers on Title IX and Sexual Violence (Apr. 29, 2014),

https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf [hereinafter 2014 Q&A],

OCR advised schools that hearings should be “conducted in a manner that does not inflict

additional trauma on the complainant,” id. at 31, and persons implementing schools’ grievance

procedures should be trained on “the effects of trauma, including neurobiological change,” id. at

40.



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          17.       In June 2014, the DOE’s Assistant Secretary for Civil Rights, Catherine Lhamon,

testified before the United States Senate that if OCR could not secure voluntary compliance with

its Title IX guidance from a college or university, the agency could initiate administrative action

to terminate federal funds or refer the case to the Department of Justice. Sexual Assault on Campus:

Working to Ensure Student Safety, Hearing Before the S. Comm. on Health, Educ., Labor, and

Pensions, 113th Cong. (2014) (statement of Catherine E. Lhamon, Assistant Sec’y, Office for Civil

Rights, U.S. Dep’t of Educ.).

          18.       In June 2014, Berklee became the subject of an OCR investigation regarding its

handling of sexual harassment complaints. See Matt Rocheleau, Berklee Is Subject of Sexual-

Assault          Investigation,     Bos.     Globe       (June    30,      2014,     6:03      PM),

https://www.bostonglobe.com/metro/2014/06/30/berklee-becomes-latest-area-college-face-

federal-sexual-assault-investigation/n5lpYkb0DvzYxn2omOKNaK/story.html. The case was

resolved in September 2017.

          19.       In November 2017, the Boston Globe reported that Berklee pressured students to

remain silent about sexual harassment by professors. See Kay Lazar, Berklee Let Teachers Quietly

Leave After Alleged Sex Abuse, and Punished Students for Silence, Bos. Globe (Nov. 8, 2017, 9:24

AM),            https://www.bostonglobe.com/metro/2017/11/08/berklee-college-lets-teachers-quietly-

leave-after-alleged-sexual-abuse-students-least-one-found-another-teaching-

job/yfCkCCmdJzxkiEgrQK4cWM/story.html.

          20.       In the past decade, universities across the country have adopted “procedural and

substantive policies intended to make it easier for victims of sexual assault to make and prove their

claims and for the schools to adopt punitive measures in response.” Doe v. Brandeis Univ., 177 F.

Supp. 3d 561, 572-73 (D. Mass. 2016).



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        21.     On September 22, 2017, OCR rescinded its 2011 DCL and its 2014 Q&A and noted

that the agency had been widely criticized for putting “improper pressure upon universities to

adopt procedures that do not afford fundamental fairness.” U.S. Department of Education, Dear

Colleague (Sept. 22, 2017), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-

201709.pdf (quoting Members of the Penn Law School Faculty, Sexual Assault Complaints:

Protecting Complainants and the Accused Students at Universities, Wall St. J. (Feb. 18, 2015),

http://online.wsj.com/public/resources/documents/2015_0218_upenn.pdf).

        22.     OCR put in place an interim guidance, U.S. Department of Education, Q&A on

Campus Sexual Misconduct (Sept. 2017), https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-

ix-201709.pdf [hereinafter 2017 Q&A], while the agency conducted a rulemaking process that

would eventually lead to binding Title IX rules. The 2017 Q&A, which was in effect during the

events at issue in this Complaint, required that “[a]ny rights or opportunities that a school makes

available to one party during the investigation should be made available to the other party on equal

terms.” Id. at 4.

        23.     In March 2020, printed signs listing several male Berklee professors’ names,

including that of Professor Farzinpour, were plastered around Berklee’s campus and on various

streets throughout Back Bay, with the following text at the bottom: “We will not be silenced.”

        24.     On March 16, 2020, the Boston Globe published an article about sexual harassment

allegations against several male professors at Berklee, including Professor Farzinpour.

        25.     On March 17, 2020, Roger Brown, the President of Berklee College, sent an email

to the entire Berklee community about the Boston Globe article. He stated his “unwavering

commitment to eliminating harassment and misconduct from our campus, and apologize to anyone

who has experienced mistreatment at Berklee.” He wrote, “Students, we know you are



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frustrated. . . . Reports to our Equity Team—and their subsequent investigations into allegations—

allow us to take action.” President’s Email to Berklee, March 17, 2020.

            26.      On May 6, 2020, the Department of Education released its final regulations on Title

IX, which are set to take effect on August 14, 2020.2 Nondiscrimination on the Basis of Sex in

Education Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026

(May 19, 2020) (to be codified at 34 C.F.R. pt. 106). The regulations make clear, inter alia, that

schools can be found to discriminate on the basis of sex by treating either the complainant or the

respondent unfairly; that parties must be provided a live hearing with cross-examination and access

to the complaint, the evidence from the investigation, and a written decision carefully addressing

the evidence; that respondents must be presumed not responsible; that all relevant evidence must

be evaluated objectively; that investigators and decisionmakers must receive non-biased training,

may not rely on sex stereotypes, and must be impartial; and must explain delays for good cause in

the timeframe of the process in writing.

      II.         Professor Farzinpour’s Background and Career

            27.      Professor Farzinpour is an American of Iranian and Jewish background. He fled

Iran as a child with his family during the Iranian Revolution in 1979 to avoid religious persecution

and violence. He and his family began anew as refugees in the United States. They settled in

California, where Plaintiff received his elementary and high school education.

            28.      Professor Farzinpour received a Bachelor of Music in Classical Guitar Performance

from the Peabody Conservatory, a Bachelor of Arts in English Literature from Johns Hopkins

University, and a Master of Arts in Composition from the University of California, Davis. He




2
    The DOE published the final regulations in the Federal Register on May 19, 2020.
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continued his post-graduate education in Milan, Italy, studying conducting for three years at the

Civica Scuola di Musica Claudio Abbado.

       29.     An accomplished composer, conductor, and educator, Professor Farzinpour has

enjoyed a diverse musical career. His achievements include sold-out performances throughout the

United States, Canada, and Europe, grants for novel projects in music, and conducting a critically

acclaimed world premiere opera in New York.

       30.     Professor Farzinpour is the Artistic Director and Conductor of the innovative and

award-winning contemporary music and multimedia group, ENSEMBLE / PARALLAX, which

tours regularly throughout the United States.

       31.     Professor Farzinpour was trained and mentored by a famed conductor who

incorporated techniques drawn from Buddhist philosophy into his approach to music performance,

which was helpful to overcoming anxiety and stage fright. Professor Farzinpour is, therefore, a

serious practitioner of meditation, mindfulness, and yoga, and has traveled abroad for intensive

retreats to learn and further his practice. He incorporates the practices into his musical conducting

and teaching, in the classroom and in mentoring musicians. He draws on mindfulness techniques

to help students train to combat the nervousness, tension, and stage fright that may keep musicians

from being fully present while performing music.

       32.     In the Fall of 2014, Professor Farzinpour began teaching as an Assistant Professor

at Berklee in the Composition department. Since then until the Summer of 2019, he always taught

throughout the Fall, Spring, and Summer semesters. Professor Farzinpour taught courses primarily

in conducting, and other courses including, but not limited to, music history, composition,

harmony, and counterpoint.




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           33.      As Professor Farzinpour proved to be a skilled and popular teacher, Berklee quickly

gave him a full teaching load. Throughout his employment at Berklee, he received exceptional

reviews from students for his teaching. His courses always enrolled quickly upon opening and

filled to capacity.

           34.      Professor Farzinpour was promoted from Assistant Professor to the rank of

Associate Professor, effective from the Fall of 2019.

           35.      At Berklee, Professor Farzinpour received several awards and grants for his

innovative projects and endeavors, including one of the highest awards available to a professor,

the Berklee Faculty Fellowship Grant.

    III.         Plaintiff Farzinpour’s Contract with Berklee

           36.      Upon commencing employment in September 2014, Professor Farzinpour signed a

contract with Berklee regarding the conditions of his employment. He signed a renewed contract

on May 10, 2018 for the term of September 1, 2018 through May 31, 2021.

           37.      Professor Farzinpour’s employment contract provided that his appointment was

“made in accordance with and governed by the policies of the Board of Trustees and the College,”

and that “acceptance of this appointment includes the acceptance of these policies.”

           A. Berklee’s Non-Discrimination, Harassment, and Sexual Misconduct Equity Policy and
              Process

           38.      Berklee’s Non-Discrimination, Harassment, and Sexual Misconduct Equity Policy

and Process (the “Policy”), which applies to “[a]ll members of the Berklee community . . .

including students, faculty, and staff,” was in effect before and during the 2019–2020 academic

year. Berklee Non-Discrimination, Harassment, and Sexual Misconduct Equity Policy and

Process,         Berklee,   1,   https://www.berklee.edu/sites   /default/files/Berklee%20Equity%20

Policy%20and%20Process.pdf [hereinafter Berklee’s Policy].

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        39.     The Policy “prohibits acts of discrimination, harassment, and sexual misconduct,

including, but not limited to, sexual assault or harassment, domestic/dating violence, and stalking.”

Id. The Policy states its commitment to “fostering a safe, supportive, and diverse climate” where

“all can study, live, and work together in an environment of equal opportunity, inclusiveness, and

mutual respect.” Id.

        40.     The Policy states that “Berklee adheres to all federal and state civil rights laws

barring discrimination, including, but not limited to Title IX . . . of the Education Amendments of

1972, Title VII of the Civil Rights Act of 1964, . . . and the Massachusetts Equal Rights Law.” Id.

(emphasis added). Additionally, the Policy states Berklee’s commitment to “promoting a culture

that is in line with the values these civil rights laws envision.” Id.

        41.     Conduct that is subject to the Policy is described as: “Conduct that occurs on

campus” and “[c]onduct that occurs off campus” when it “occurs in the context of an employment

or educational program or activity of Berklee; has the effect of continuing adverse effects on

campus, including adverse impact on any member of the Berklee community or Berklee itself; has

continuing adverse effects in an off-campus employment or education program or activity, such

as . . . research [or] performances . . . ; causes concern for the safety or security of Berklee’s

campus; or has, or may have, the effect of contributing to or continuing a hostile environment in a

Berklee program or activity.” Id. at 2.

        42.     The Policy defines “discrimination” as “any conduct that excludes an individual

from participation, denies the individual benefits, treats the individual differently, or otherwise

adversely affects a term or condition of an individual’s employment, education, living

environment, or participation in a Berklee program on the basis of the affected individual’s actual




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or perceived protected characteristic.” Id. at 3. Examples of discrimination include “denying an

employee a promotion because of the employee’s . . . protected characteristic.” Id.

       43.     The Policy defines “harassment” as “unwelcome, offensive conduct that occurs on

the basis of the affected individual’s actual or perceived protected characteristic,” which “often

takes the form of degrading or hostile behavior, and has the purpose or effect of unreasonably

interfering with the individual’s employment or education, or creating a hostile, intimidating, or

offensive working, living, or learning environment.” Id.

       44.     The Policy states that “[t]he fact that a person was personally offended by a

statement or incident does not alone constitute harassment in violation of this policy. Whether

harassment occurred is measured from both an objective (reasonable person’s view) and subjective

(the reporting party’s view) standard, and depends on the totality of the circumstances, including:

the context of a communication or incident; the relationship of the individuals involved; whether

an incident was isolated or part of a course of conduct; the seriousness or severity of the incident;

the intent of the individual who engaged in the offensive conduct; and its effect or impact on the

individual and the working or learning community.” Id.

       45.     The Policy states that “sexual harassment” involves “unwelcome or unwanted

conduct of a sexual nature,” including “unwelcome sexual advances, requests for sexual favors,

and other physical or verbal conduct of a sexual nature,” and specifies that it “can be directed

toward a person of any sex/gender by someone of any sex/gender.” Id. at 4. Examples of

“unwelcome or unwanted conduct” include: “Lewd remarks . . . or personal reference to one’s

anatomy,” “[s]ubtle or overt pressure for sexual favors,” “[u]se of sexual epithets, . . . references

to sexual conduct, gossip regarding one’s sex life, and comments on an individual’s body, sexual




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activity, deficiencies or prowess, and/or conformity to expected notions of gender,” “[s]exual

exhibitionism,” and “[i]nquiries into one’s sexual activities.” Id.

       46.        The Policy continues to outline that sexual or gender-based harassment can

unreasonably interfere “with an individual’s work or academic performance if, for example, it is

sufficiently, serious, pervasive, or persistent as to create an intimidating, hostile, humiliating,

demeaning, discriminatory, or sexually offensive working, academic, residential, or social

environment under both an objective (reasonable person’s view) and subjective (the reporting

party’s view).”

       47.        The Policy also prohibits retaliation, which is defined as “any conduct or behavior

that interferes with a person’s rights and ability to pursue both internal disciplinary processes and

charges through external law enforcement authorities, as well as rights to access education and/or

work. . . . Retaliation includes taking, or causing third parties to take, any such action. Retaliation

against a reporting party or witness may be violating Berklee policy and the law, even if the

original complaint of misconduct cannot be substantiated.” Id. at 8.

       48.        The Policy prohibits “retaliation against any person who, in good faith, reports,

assists in reporting, or participates in an investigation of possible discrimination, harassment, or

sexual or gender-based misconduct. Retaliation against an individual for reporting a complaint or

concern about a violation or suspected violation of this policy, for supporting a reporting party, or

for assisting in providing information in the context of an investigation or disciplinary proceeding

pursuant to this policy is a serious violation of Berklee’s policy and will be subject to discipline

pursuant to this policy and the Equity Complaint Process.” Id.




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       49.       The Policy instructs that “[i]ncidents of suspected retaliation should be reported to

the investigator(s) assigned to the matter or to any individual identified below in the Formal

Reporting to Berklee section.” Id.

       50.       When a complaint under the Policy arises “where the Chief Equity Officer/Title IX

Coordinator determines that a complaint appears to allege a policy violation and a reporting party

wishes to pursue a formal complaint,” he or she “appoints trained, impartial individual(s) to

conduct the investigation.” Id. at 14.

       51.       The Policy provides that “[t]he investigator is responsible for communications with

the parties regarding the initiation and progress of the investigation,” and that “[p]rior to initiating

the investigation, the investigator will meet separately with each party to review applicable policy,

procedures, rights, and other expectations related to the investigation.” Id. at 15.

       52.       The Policy promises that “[t]he investigator will provide the responding party with

written notice of all allegations, in a charge letter and/or written complaint, prior to the initial

interview.” Id. Should “new information come to light that results in the need to charge the

responding party with additional violations,” the Policy promises, “the parties will be provided

with an updated, written letter setting forth the new allegations.” Id.

       53.       The Policy allows both complainant and respondent to be advised by an advisor of

their choice. “Advisors serve as a support person [sic] for the parties during investigative

meetings.” Id.

       54.       Pursuant to the Policy, “[t]he investigator will interview the parties, as well as all

relevant witnesses, and gather any relevant evidence (such as texts/emails, social media postings,

surveillance video, photos), and consider all relevant evidence.” Id.




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       55.     The Policy provides that, in general, “the investigator will not consider character

evidence, incidents not directly related to the possible violation unless they tend to show a pattern,

past sexual history, or sexual character of either party.” Id.

       56.     The Policy promises that “[t]he investigation will be thorough, impartial, and fair,

and all individuals will be treated with appropriate sensitivity and respect.” Id.

       57.     The Policy promises that “[d]uring the investigation, the parties will have an equal

opportunity to share information and request that witnesses be interviewed. The parties will not be

interviewed together or be required to meet.” Id.

       58.     The Investigator, in most cases, “will prepare a written summary of the evidence to

be considered at the conclusion of an investigation.” Id. The Policy requires that “[b]efore a

determination is made,” the parties “be given the opportunity to review a summary of relevant

evidence, including their own statements,” and be permitted to “submit any comments about this

summary to the investigator within five (5) calendar days.” Id. at 15–16.

       59.     The Policy states that “[t]he investigator will then review all relevant evidence and

determine whether or not the responding party is responsible or not responsible for each allegation,

using a preponderance of the evidence standard,” and that “[t]he investigator will then amend the

summary report, including rationale and conclusions, for review by the Chief Equity Officer/Title

IX Coordinator.” Id. at 16.

       60.     The Chief Equity Officer/Title IX Coordinator is required to “oversee each

investigation and ensure sufficiency of evidence gathered, that the facts gathered support the

findings, that best practices are followed, and that each allegation is addressed in the investigator’s

summary report.” Id.




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        61.      Upon a finding that a respondent violated the Policy, possible sanctions include

“mandated education, a formal warning, probation, suspension, expulsion (for students), or

corrective action up to and including termination (for employees).” Id. For respondents who are

staff or faculty, potential sanctions also include “[n]o contact orders; [m]andated counseling,

education, and/or training; [v]erbal warning; [w]ritten warning; [f]inal written warning;

[s]uspension; [i]nvoluntary termination.” Id.

        62.      When determining and issuing appropriate sanctions, the Chief Equity Officer/Title

IX Coordinator is “guided by a number of factors, including but not limited to the nature, severity,

and circumstances of the violation; disciplinary history and previous acts of similar misconduct;

the need for sanctions to bring an end to and prevent recurrence of discrimination, harassment, or

retaliation; the need to remedy the effects of the discrimination, harassment or retaliation on the

reporting party and the community; and any other factors deemed relevant.” Id. at 17.

        63.      “The Chief Equity Officer/Title IX Coordinator may consult with the Investigator

and/or deputy for equity investigations on any sanctioning decisions.” Id. When the respondent is

a faculty member, “a dean or other individual designated by the provost will be consulted in an

advisory or consultative capacity.” Id.

        64.      The Chief Equity Officer/Title IX Coordinator or designee must notify the parties

of the outcome and sanctions “in writing, on the same day,” and include in this notification both

“a summary of the investigative report and sanctions determination,” and “a summary of the

factors the Chief Equity Officer/Title IX Coordinator considered in determining the sanction(s).”

Id. at 19.

        65.      The Policy promises that “Berklee will conduct a timely review of all complaints

and will endeavor to complete review and resolution within sixty (60) calendar days from receipt



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of the complaint to notification of outcomes.” Id. The Policy notes that “due to specific case

circumstances,” Berklee may need to “extend these time frames.” Id. The Policy further notes that

“[i]n the event that such time frames will not be met, the parties will be kept informed.” Id.

       66.     After the outcome and sanctions are issued, the complainant and the respondent

“have equal rights to an impartial appeal.” Id. at 20.

       67.     The only permitted grounds for appeal are: (i) “The appellant alleges that new

evidence is available that was not available prior to the original investigation and finding and that

this new evidence may have a material effect on the case,” (ii) “the appellant alleges that the

investigation process was not adhered to and that such non-adherence may have had a material

impact,” or (iii) “the appellant alleges that the sanctions assigned are disproportionate to the

violation or to the sanctions issued to others who were found to be responsible for substantially

similar violations.” Id.

       68.     The Policy provides that the appeal is “conducted in writing.” Parties must also

submit the appeal within “ten (10) business days from written notification of an outcome” and

“include any and all information they would like to have considered.” Id.

       69.     The deputy for appeals will “determine whether or not the appellant has provided

sufficient grounds for review,” in most cases, within ten days of receipt of an appeal. Id. If the

deputy for appeals decides that sufficient grounds for review exist, “the appeal will be decided by

an appeal panel of three trained administrators, including the deputy for appeals.” Id.

       70.     The Policy states that the appeal panel “is not intended to conduct a full review of

the case” and that the panel typically reviews “the appeal, any response received, the outcome

letter, and the case summary prepared by the investigator.” Id. at 20–21.




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           71.      Notably, the appeal panel does not review all documents and evidence compiled

from the investigation. Rather, the appeal panel “may only make changes to the original outcome

when at least one of the specified grounds for appeal is met.” Id. at 21.

           72.      The appeal panel may (i) determine the original decision stands because “no

grounds for appeal have been met”; (ii) “determine that grounds for appeal have been met” and

remand back to an investigator to address the appealed aspects of the case; or (iii) make new

findings of fact, responsibility, and sanction. Id.

           B. Berklee’s Relationships Policy

           73.      Berklee’s Relationships Policy, which applies to “all Berklee employees . . .

including but not limited to full- . . . time faculty,” prohibits “dating, romantic, or sexual

relationships between students, . . . and faculty,” including “relationships that occur when Berklee

is   not     in     session   or    students   are   on    leave.”   Relationships    Policy,    Berklee,

https://www.berklee.edu/introduction-table-contents/overview/110-relationships-policy.

           74.      The Relationships Policy states that “[f]aculty or staff . . . who violate this policy

are subject to corrective action up to and including termination of employment.” Id.

     IV.         Events Preceding the Alleged Incident Between Ms. Alali and Professor
                 Farzinpour

           75.      Ms. Mina Alali, an undergraduate student at Berklee, enrolled in a course taught by

Plaintiff Farzinpour in the Fall 2018 semester.

           76.      At some point in the fall of 2018, Ms. Alali sent a “friend” request to Professor

Farzinpour on the social media website Facebook. It was ordinary for Berklee students to “friend”

their professors on Facebook. Professor Farzinpour did not send “friend” requests to students, but

he accepted “friend” requests from students, as did his Berklee faculty colleagues. Facebook was

not a website Professor Farzinpour used frequently, and he used it almost exclusively for

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advertising his musical activities and learning of other’s artistic activities. It was not particularly

meaningful to accept a “friend” request from a student or other members of the arts community.

       77.     About midway through the Fall 2018 semester, Ms. Alali asked to speak with

Professor Farzinpour, and informed him, through tears, that she had to take a leave of absence

from Berklee to seek treatment for a personal issue.

       78.     Upon seeing Ms. Alali in such distress, Farzinpour told her that her health should

be her priority. He proposed that he could give her an “incomplete” in the course and she could

finish the course requirements later on — a common accommodation for a student who takes time

off for health reasons.

       79.     Ms. Alali left Berklee for the remainder of the Fall 2018 semester. Professor

Farzinpour completed the semester without knowing what ultimately happened with Ms. Alali.

       80.     Plaintiff Farzinpour reached out to Ms. Alali in January 2019 to send his best wishes

and to follow up regarding what she wished to do about the “incomplete” notation for his course.

       81.     Ms. Alali replied approximately ten (10) days later that she would complete the

course during the Spring or Summer 2019 semester, as she was in treatment in Philadelphia,

Pennsylvania. She thanked Professor Farzinpour for his understanding and patience and wished

him well.

       82.     Upon information and belief, Ms. Alali remained on a leave of absence through the

Spring 2019 semester. Professor Farzinpour did not have contact with her during that time.

       83.     In the Spring 2019 semester, Mr. Nicholas “Nick” Marinelli, Ms. Alali’s boyfriend,

enrolled as a student in Plaintiff Farzinpour’s Conducting 2 course at Berklee. Mr. Marinelli

quickly became friendly toward Professor Farzinpour.




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       84.     As a concerned teacher, Professor Farzinpour inquired about Ms. Alali’s health.

Mr. Marinelli informed him that Ms. Alali was improving at a treatment program in Pennsylvania.

Plaintiff told Mr. Marinelli to send Ms. Alali his best regards.

       85.     In the Summer 2019 semester, which began on or around May 28, 2019, Professor

Farzinpour taught several courses listed as part of Berklee’s Composition Department: two

Conducting 1 courses, two Conducting 2 courses, and one Music History course. These courses

lasted for approximately twelve (12) weeks.

       86.     Just beyond the midway point of the Summer 2019 session, Ms. Alali joined

Professor Farzinpour’s Conducting 2 course, COND-212-005, which had an enrollment of

approximately fifteen (15) students. Professor Farzinpour initially cautioned Ms. Alali that, since

the course was already well underway, perhaps it would be best that she re-enroll in the course in

a later semester. Nevertheless, the Composition Department Chairperson, Mr. Richard Carrick,

permitted Ms. Alali to join the course upon her return from a leave of absence, with approximately

five (5) weeks left in the Summer 2019 session.

       87.     From the outset of her attendance in the Conducting 2 course, Ms. Alali often stayed

after class of her own accord to speak with Professor Farzinpour and to receive additional

conducting assistance. Ms. Alali expressed particular interest in learning about Professor

Farzinpour’s incorporation of yoga, meditation, and mindfulness practices into his conducting and

other musical pursuits and asked him about this on multiple occasions. At one point, Professor

Farzinpour also asked another student, who was taking his course at the time, and who was also a

yoga teacher, to stay after class to advise Ms. Alali about yoga opportunities available in the area.

Professor Farzinpour hoped that Ms. Alali’s interest in or preference for a fellow student as a




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resource might relieve some pressure from the considerable time that Ms. Alali’s after-class

questions were taking.

        88.      As a teacher, Professor Farzinpour met with students outside of class time upon

their request to provide mentoring, guidance, and instruction, as schedules allowed, sometimes

over coffee, breakfast, lunch, or dinner. All meetings were strictly professional meetings between

teacher and students, as is commonplace in the college educational context.

        89.      After one particular class, Ms. Alali again stayed afterward and requested a meeting

with Professor Farzinpour to discuss yoga and meditation. She followed up her initial verbal

request with an email on July 16, 2019, stating, “I’d love to sit down somewhere this week and

talk about healing/Bali/meditation, etc.,” referring to Professor Farzinpour’s meditation practice

and his past experience of attending a meditation retreat in Bali, Indonesia. She indicated, “I am

free both Wednesday after 5 and Thursday evening. Let me know if this week works for you!”

        90.      Responding to this request, Professor Farzinpour agreed to meet with Ms. Alali

after class the following week on Wednesday afternoon.

   V.         The Alleged Incident of July 24, 2019

        91.      On July 24, 2019, the day of the scheduled meeting, class concluded in the late

afternoon. Professor Farzinpour asked Ms. Alali if she still wished to meet to discuss yoga and

meditation as she’d requested. She said she did.

        92.      Professor Farzinpour asked Ms. Alali if she’d prefer to meet over coffee or pizza.

Ms. Alali selected pizza. Having previously been to the bustling market Eataly at the Prudential

Center, a five-minute walk from Berklee, several times with male and female students, Professor

Farzinpour suggested Eataly and Ms. Alali agreed.




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       93.       Around 4:00 p.m., Professor Farzinpour and Ms. Alali walked through Belvedere

Street and Dalton Street to reach the entrance of the Sheraton Boston Hotel, which provided the

closest entrance to the Prudential Center via escalator. On the walk, Professor Farzinpour discussed

principles of yoga and mindfulness, the topics Ms. Alali had sought guidance on when requesting

the meeting. Consistent with these principles, he gave guidance on her physical posture and

implored her to slow her pace and take in the surroundings.

       94.       At Eataly, Professor Farzinpour and Ms. Alali ordered food and wine. Professor

Farzinpour knew that Ms. Alali was an adult over the legal drinking age, and he would not have

permitted any student who was under twenty-one (21) to consume alcohol in his presence.

       95.       When Professor Farzinpour engaged in small talk by asking Ms. Alali how she was

doing, Ms. Alali unexpectedly brought up her own sexual and body image issues.

       96.       Ms. Alali suddenly asked Professor Farzinpour if he brought “all [his] dates to this

place.” Professor Farzinpour responded in no uncertain terms that this was NOT a date. Moreover,

he informed Ms. Alali that he had many coffee, breakfast, lunch, and dinner meetings with

students, that these were absolutely not dates, and that he had never dated a student, as it would be

unethical. Ms. Alali responded to Professor Farzinpour, “You don’t have to worry. Nick and I

aren’t the types to tell on you to anyone.” Despite her persistence, Professor Farzinpour repeatedly

attempted to change the topic.

       97.       Then, Ms. Alali launched into a monologue about the process of recording an album

and said she wanted to share her recording with Professor Farzinpour. When he suggested he could

listen to it later, Ms. Alali persisted, even asking the waitress if she had a device on which to play

the recording.




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       98.     Professor Farzinpour again said he would listen to it later and sent her a link to his

piece “in memoriam sospeso” — a somber memorial piece composed by Professor Farzinpour for

his performance group ENSEMBLE / PARALLAX.

       99.     Ms. Alali then insisted on showing Professor Farzinpour the album cover of her

upcoming album, on which Ms. Alali wore a bra-like top, and asked for his opinion. Professor

Farzinpour stated that it is her business what she chose to place on her album cover.

       100.    To Professor Farzinpour’s astonishment, Ms. Alali thrust out her chest and stated

that she had “32DDD” size breasts.

       101.    Completely taken aback by Ms. Alali’s behavior, Professor Farzinpour declined to

comment and attempted to pivot the conversation to a non-sexual topic.

       102.    Nevertheless, Ms. Alali continued to steer the conversation back towards sexual

topics. Plaintiff Farzinpour repeatedly brought up conducting techniques and yoga to try to keep

the conversation away from sexual topics.

       103.    Ms. Alali asked Professor Farzinpour a question regarding intimate details of his

personal life, namely his sexual relationship with his wife. Professor Farzinpour declined to

answer.

       104.    Ms. Alali and Professor Farzinpour finished eating, and he told her that he had to

go. She asked him where he was going, to which he responded that since he had just missed his

train to Providence, Rhode Island, he would probably grab a drink while waiting for the next train

at the nearby Boston Back Bay Station.

       105.    Ms. Alali declared that she wished to wait with him. Professor Farzinpour

suggested that she return to whatever matters she needed to attend to, but she insisted on staying

with him. Professor Farzinpour felt rude and cold refusing a student - who had just returned from



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treatment for major health issues and seemed troubled - permission to wait with him. Feeling

awkward in light of her insistence, and empathizing with struggles she might be going through, he

assented to her waiting with him.

       106.    Professor Farzinpour reluctantly went into Jaho, a restaurant that Ms. Alali

suggested. There, they each ordered one dessert martini.

       107.    Ms. Alali received several alerts on her phone. Professor Farzinpour asked whether

she needed to take a call, hoping that she would need to leave. Ms. Alali replied that the phone

alert was a reminder to do something music related but nothing she needed to do at the moment.

Professor Farzinpour told her that she should go and complete the tasks rather than stay with him

while he awaited his train. Again, Ms. Alali expressed her wish to remain with Professor

Farzinpour.

       108.    Professor Farzinpour then got up to go board his train. However, due to the slow

timing of the check, he missed the train he intended to board. Ms. Alali again insisted on

accompanying him to another restaurant, Bar 10, near the train station, while Professor Farzinpour

awaited the next train.

       109.    Multiple times, Professor Farzinpour strongly suggested that Ms. Alali should go

tend to her work, but she insisted on staying with him.

       110.    Ms. Alali again attempted to steer the conversation back to a sexual topic. Yet

again, Professor Farzinpour attempted to steer the conversation away from the topic.

       111.    Professor Farzinpour again brought up the topic of meditation. Ms. Alali proceeded

to pivot the conversation again to personal topics, this time informing Professor Farzinpour that

she was skilled at impersonations.




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       112.    Ms. Alali jumped up from the table and began to impersonate a high school teacher,

which she did again upon the waiter’s return to their table. Professor Farzinpour, unsure of what

to do in the moment, politely waited for her to conclude and diverted the conversation back to

meditation retreats.

       113.    Ms. Alali then returned to the highly sexual line of conversation she had been

pursuing earlier, which Professor Farzinpour attempted to turn away from. Again, Ms. Alali asked

Professor Farzinpour about his sexual relationship with his wife. Once again, Professor Farzinpour

declined to comment.

       114.    Ms. Alali asked him if he had ever had a sexual relationship with a student, and

Professor Farzinpour responded “No,” again reminding her that that would be highly unethical.

Ms. Alali revealed that she had had romantic relationships with professors at Berklee’s Boston and

Valencia campuses in the past.

       115.    Feeling very uncomfortable, Professor Farzinpour excused himself to go to the

restroom. Shockingly, upon his return to the table, Ms. Alali propositioned Professor Farzinpour,

asking him to accompany her to the restroom to engage in sexual intercourse. Professor Farzinpour

immediately and unequivocally refused.

       116.    Nevertheless, Ms. Alali continued to pursue Professor Farzinpour and suggested he

get them a hotel room. Again, he repeatedly declined her requests, saying that would not be

happening.

       117.    Ms. Alali then brought up another Berklee student who she said was “very sexy”

and dressed in a “slutty” manner and asked Professor Farzinpour if he would like to engage in a

“threesome” with the two women. He said no.




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       118.    Professor Farzinpour felt so uncomfortable that he excused himself to go to the

restroom once again.

       119.    Upon his return, Professor Farzinpour found that Ms. Alali had settled their bill.

She stated that she had to leave because her boyfriend had completed his work.

       120.    Ms. Alali, who is also of Iranian background, said goodbye in a traditional manner

by kissing Professor Farzinpour alternately on the cheeks two times. Once Professor Farzinpour

pulled back to embark on his journey home, Ms. Alali, completely of her own accord, pulled

Professor Farzinpour back towards her and once again kissed Professor Farzinpour alternately on

the cheeks, three times this time, stating that this was how it was meant to be done. Professor

Farzinpour pulled back and said that was not traditional Iranian custom.

       121.    Ms. Alali and Professor Farzinpour then parted ways. As Ms. Alali walked away,

she repeatedly and emphatically stated, “Next week — we’re doing this again next week!”

       122.    Professor Farzinpour boarded an early-evening train and went home to Providence.

       123.    Once Professor Farzinpour returned home, he immediately told his wife of the

strange occurrences of the day and his severe discomfort regarding the student’s conduct.

       124.    Professor Farzinpour’s wife urged him to report the student’s disturbing conduct to

Berklee. However, knowing that Ms. Alali had just returned from a leave of absence and had been

in treatment for serious personal health issues, Professor Farzinpour did not want to cause trouble

for the student. He wanted to let it go.

       125.    The following morning, July 25, 2019, Professor Farzinpour emailed Ms. Alali with

three links to yoga retreat search websites, which he had mentioned to her the previous day.




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   VI.      Ms. Alali’s Complaint Against Professor Farzinpour and Resulting Investigation
            at Berklee

         A. Professor Farzinpour Receives Notice of the Investigation

         126.   On July 30, 2019, Professor Farzinpour received frantic phone calls and voice

messages from Ms. Kelly Downes, the Chief Equity Officer/Title IX Coordinator of Berklee’s

Equity Office. Ms. Downes has been described by the President of Berklee College as “a lawyer

whose prior work includes prosecuting sex crimes and advising on internal investigations of sexual

harassment by police officers.” President’s Email to Berklee, March 17, 2020.

         127.   Professor Farzinpour returned Ms. Downes’ phone call immediately upon seeing

the messages and missed calls, at which point she informed him that there had been an equity

complaint filed against him. As a result, he would have to meet with Ms. Downes and be

interviewed by the investigator, Ms. Jaclyn Calovine.

         128.   Without any opportunity to see the complaint, to know what the allegations were

and who was accusing him, or to present his view of the alleged events, Professor Farzinpour was

told, in his phone call with Ms. Downes, that he had been placed on paid administrative leave,

effective immediately, and that he would not be permitted to teach any further classes until the

matter was resolved.

         129.   Professor Farzinpour told Ms. Downes that he would fully cooperate with the

investigation and that he wanted to clear everything up as quickly as possible so that he could

resume teaching his classes.

         130.   After the phone conversation, Ms. Downes sent Professor Farzinpour the Notice of

Investigation Letter dated July 30, 2019 (“Notice”), which stated that Mina Alali accused him of

violating two Berklee policies: the Sexual Harassment Policy and the Relationships Policy.




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       131.    Regarding the sexual harassment claim, the Notice specified that Ms. Alali alleged

that Professor Farzinpour made “numerous unwelcome sexual advances toward the reporting party

by engaging in the following behavior: commenting on her physical appearance, for example, her

breasts and body shape; expressing a sexual attraction towards her; and suggesting that they engage

in sexual activity.”

       132.     Regarding the Relationships Policy claim, Ms. Alali alleged that Professor

Farzinpour “violated Berklee’s relationships policy by participating in a date or attempting to

engage in a dating or sexual relationship with a student.”

       133.    The Notice stated that Ms. Downes had appointed Ms. Jaclyn Calovine, the Deputy

for Equity Investigations, as the sole investigator for the matter, and that Ms. Calovine would meet

with Professor Farzinpour “to discuss the allegations made against you and provide you with an

opportunity to respond.” It informed him that he had a “right to submit information or documentary

evidence and to identify witnesses who may have relevant information.”

       134.    While claiming that Berklee “is committed to a fair and thorough investigation,”

the Notice stated again what Ms. Downes had told Professor Farzinpour before she gave him the

complaint and notified him of the nature of the allegations: that based simply on the complaint of

sexual harassment being filed, Berklee had already placed Professor Farzinpour on administrative

leave — without any notice, inquiry, or opportunity to be heard.

       135.    The Notice further stated that “Berklee strictly prohibits any and all retaliation

against any party or witness in an equity process. Retaliation is any conduct or behavior that

interferes with a person’s rights and ability to pursue internal disciplinary processes as well as

access to education and/or work.”




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       136.      The Notice stated, “[r]etaliation against a reporting party or witness may violate

Berklee policy and the law even if the original complaint of misconduct cannot be substantiated.”

While it specifically mentioned protection from retaliation against a complainant, the Notice did

not mention protection from retaliation against a respondent in an investigation.

       137.      The Notice prohibited contact between Ms. Alali and Professor Farzinpour.

       138.      The Notice also stated, “[w]hile on leave, you should refrain from participating in

any Berklee activities, whether on or off campus.” Berklee shut down Professor Farzinpour’s

access to all of his Berklee accounts, including his email, his class schedules and rosters, and his

paycheck and tax information. The Notice stated that he was “not expected to communicate with

any community members.” As a result of being cut off from access to his emails and class

information, Professor Farzinpour was unable to review evidence that would have been in his

possession, gather potentially exculpatory evidence, and prepare for the meeting or interview.

       139.      Ms. Downes put Professor Farzinpour in contact with the assigned Investigator,

Ms. Calovine, to set up the first meeting and interview. Professor Farzinpour contacted former

union head, Mr. Jackson Schultz, to ask that he accompany Professor Farzinpour to any meetings

or interviews.

       B. Professor Farzinpour Is Interviewed for the First Time

       140.      On August 5, 2019, Professor Farzinpour — accompanied by his wife and now-

retired Berklee Faculty Union President, Mr. Schultz — met with Ms. Downes.

       141.      Ms. Downes detailed the disciplinary process and stated that Professor Farzinpour

would have an opportunity to ask questions and raise concerns. Additionally, Ms. Downes assured

Professor Farzinpour that the investigation process would be fair, equitable, and balanced. She told

him that he could also request an investigation of Ms. Alali, should he wish.



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       142.    Professor Farzinpour expressed his intent to fully cooperate with the investigation,

as he was certain that he would be cleared of these false allegations. He expressed his desire to

proceed expeditiously through the investigation, so that he could provide the final remaining weeks

of instruction to his students and complete the semester.

       143.    At the August 5 meeting, both Ms. Downes and Ms. Calovine assured Professor

Farzinpour that he might possibly be able to return to teaching before the semester ended. But

Professor Farzinpour later discovered (from students who reached out with concern for him) that

the substitute teachers had informed the students in his classes, around the same time as his first

interview, that he would not be returning for the remainder of the semester.

       144.    Following Professor Farzinpour’s meeting with Ms. Downes, he met with Ms.

Calovine, the Investigator, for approximately four hours. Although the meeting was initially

scheduled for only two hours, Professor Farzinpour wanted to be as transparent, open, and detailed

as possible about the events that transpired. Throughout the meeting, Professor Farzinpour

consistently asserted and underscored his innocence.

       145.    Professor Farzinpour’s wife, who accompanied him, volunteered to be interviewed

on that same day. However, Ms. Calovine declined to interview her, and said that she would let

Professor Farzinpour know whether she deemed it necessary for his wife to be interviewed.

       146.    During the interview of Professor Farzinpour, Ms. Calovine displayed behavior that

indicated her bias against Professor Farzinpour. For instance, when Plaintiff Farzinpour stated that

it was unremarkable for him to have meetings with students over coffee or meals, Ms. Calovine

made a very surprised and disapproving facial expression — as if to reveal her view that such a

meeting would always be inappropriate between a male professor and a female student.




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       147.    Furthermore, when Professor Farzinpour expressed that any meetings he had with

students that occurred outside of normal class time or office hours took place in public places that

likely had security cameras, Ms. Calovine expressed her assumption that he had some nefarious

underlying intent, asking, “You mean you planned this so there would be cameras around? You

plan your meetings with students knowing in advance there are cameras around?” Professor

Farzinpour replied that as a general practice he met with students in public places rather than

private ones, and that public places often had security cameras.

       148.    Professor Farzinpour requested that Berklee obtain security camera footage to

corroborate his version of the events. Ms. Calovine stated that Berklee was not interested in video

surveillance footage and would not go through the trouble of obtaining it.

       149.    Ms. Calovine repeatedly pressed Professor Farzinpour as to why he had not

removed Ms. Alali from his Facebook friends immediately after the day of the incident in question.

Professor Farzinpour replied that he uses Facebook primarily to promote his performances, and

does not use it much beyond that professional purpose.

       150.    Ms. Calovine pressed Professor Farzinpour as to why Ms. Alali had accompanied

him to several places over several hours on the day of the incident in question. Professor

Farzinpour replied that he urged Ms. Alali a number of times that she should leave, but that Ms.

Alali insisted on remaining, despite his unwavering requests for her to leave. In spite of Professor

Farzinpour’s visible discomfort with the overtly sexual nature of Ms. Alali’s suggestions and

actions, Ms. Alali adamantly expressed her desire to stay with Professor Farzinpour and continue

their conversation.




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       151.    Professor Farzinpour asked Ms. Calovine to consider why Ms. Alali would have

opted to stay with him if his behavior had allegedly been so egregious as to warrant a complaint

or if she had felt uncomfortable. Ms. Calovine did not respond.

       152.    Professor Farzinpour suggested that many students he met with, both in and outside

of the classroom, would testify that he had never behaved in such manner as Ms. Alali alleged.

However, Ms. Calovine dismissed this statement, declining to pursue character witnesses.

       153.    Nonetheless, on September 30, 2019, several female students at Berklee went to the

Equity Office of their own accord to speak in support of Professor Farzinpour and attest to his

integrity. However, their supportive statements were not taken into account because they were

considered character testimony. The Equity Office refused to share the statements with Professor

Farzinpour when he requested them after the end of the investigation.

       154.    Near the conclusion of the meeting, Professor Farzinpour expressed his concern

that Berklee’s Equity Office had demonstrated inequity toward men with respect to disciplinary

investigations. Specifically, Professor Farzinpour mentioned that the Equity Office distributed

literature and associated promotional products that are one-sided in support of women. Ms.

Calovine assured Professor Farzinpour that the office would be “absolutely impartial.”

       155.    Throughout the meetings with both Ms. Downes and Ms. Calovine, Professor

Farzinpour strongly maintained his innocence.

       C. Berklee Denies Plaintiff Farzinpour’s Request to File a Complaint Against Ms. Alali

       156.    Based on Ms. Downes having informed Professor Farzinpour at his first interview

that he could file a complaint and request an investigation of Ms. Alali if he wished, on August 6,

2019, he requested to file a Title IX sexual harassment complaint against Ms. Alali.




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       157.    Ms. Downes replied that, “My suggestion is that you first raise this issue in the

context of your discussions with” the Investigator, “and she may address your claim as part of her

investigation as appropriate.”

       158.    On August 8, 2019 Professor Farzinpour emailed the Investigator and Ms. Downes

that he was reporting “repeated incidents of sexual harassment and aggression by a Berklee student

against me on July 24, 2019.” He reported: “The student asked me to go out with her under the

guise of discussing holistic, wellness retreats (yoga/meditation) and my experiences at such

retreats in Bali. However, once we went to discuss these subjects, she repeatedly made very

inappropriate, sexually suggestive comments to me and asked me very inappropriate sexual

questions.” He reported that “she propositioned me to have sex with her in the bathroom of the

Bar 10 establishment and after I emphatically refused this (repeated) proposition, she repeatedly

demanded that I get a hotel room to engage in sexual activity with her.” Professor Farzinpour

requested that Berklee put in place supportive measures for him while the investigation was carried

out. He followed up on this report on August 10, 2019.

       159.    On August 15, 2019, Ms. Downes replied that she was “deciding not to issue a

complaint at this time,” that she was exercising her “discretion as Chief Equity Officer/Title IX

Coordinator to determine whether the complaint rises to a policy violation,” and that it was

“appropriate to give special care to the complaint to ensure that it is not retaliatory in nature.” She

promised that once the Investigator had “gathered more details,” she would “reassess whether to

issue a complaint.”

       160.    Professor Farzinpour repeatedly reiterated that he would like to move forward with

a complaint, as he did believe that her conduct fit the definition of sexual harassment and warranted

a complaint and investigation.



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       161.    Berklee never agreed to issue a complaint.

       D. Berklee’s Equity Office Fails to Act in Response to Retaliation Against
          Professor Farzinpour

       162.    In August 2019, while the investigation was ongoing, the Equity Office received

notification from several Berklee students that Ms. Alali was spreading false statements about

Professor Farzinpour regarding the alleged incident that was the subject of her complaint and that

had resulted in the imposition of his administrative leave pending resolution of the matter.

       163.    Specifically, students told the Equity Office that Ms. Alali approached a sizable

group of approximately a dozen Berklee students whom she did not know at Earls Kitchen + Bar,

and falsely boasted that she had gotten Professor Farzinpour fired for sexually harassing her.

       164.    The students said that Ms. Alali approached the group of students, asked if they all

went to Berklee, and told them that she had “tea to spill,” meaning gossip, about Peyman

Farzinpour.

       165.    Then, Ms. Alali proceeded to share with the large group, a false and graphic story

of the alleged incident, tarnishing Professor Farzinpour’s name and reputation.

       166.    Two Berklee students who were present were so upset about Ms. Alali’s conduct

that they reported the incident to the Equity Office, in August 2019.

       167.    Out of concern for his reputation, Ms. Alali’s violation of confidentiality, and her

violation of the retaliation policy during an ongoing investigation, Professor Farzinpour emailed

and left a voice message for Ms. Downes about the false statements by Ms. Alali spreading among

Berklee students.

       168.    However, Ms. Downes never returned his phone call or responded to his email

regarding this issue.




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       E. Plaintiff Farzinpour’s Second Interview with Ms. Calovine

       169.    On August 30, 2019, Professor Farzinpour appeared for a second interview with

Ms. Calovine, via web conference, accompanied by his advisor and sister, attorney Ms. Shiva

Farzinpour.

       170.    During this interview, Ms. Calovine reviewed the dates and chronology of events,

which remained consistent with Professor Farzinpour’s prior account. Ms. Calovine continuously

pressed him for confirmation of times and dates, despite her knowledge that Professor Farzinpour

did not then have access to this information as a result of his exclusion from his Berklee email

account.

       171.    In response to Professor Farzinpour’s request for access to his emails for the

purposes of identifying evidence with which to defend himself, Ms. Downes had told him that he

could review his emails by going to Berklee and viewing them “with a staff member present.”

However, Profesesor Farzinpour was staying in Los Angeles for his administrative leave. Ms.

Downes also said that he could tell a staff member which emails he wanted, but Professor

Farzinpour did not recall precisely which emails he had, which was why he needed access to search

them for relevant information. The upshot was that due to Berklee’s decision to shut him out of

his accounts upon receiving a sexual assault complaint, he could not access information with which

to defend himself against that complaint.

       172.    Ms. Calovine noted that Ms. Downes had asked Professor Farzinpour whether he

wished to file a complaint against Ms. Alali. Professor Farzinpour replied that he did indeed

request to file a complaint, and Ms. Downes denied him the opportunity to do so.

       173.    During the interview, Ms. Calovine asked Professor Farzinpour whether he

remembered a class period wherein Ms. Alali and another student exchanged vulgarities in several



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foreign languages, to which Plaintiff Farzinpour replied that he did not recall such an occurrence.

Ms. Calovine explained that, in class, Ms. Alali allegedly uttered a Spanish phrase meaning “I

need dick.” According to Ms. Alali, Professor Farzinpour, not understanding Spanish, did not

know she had said something vulgar or sexual, and asked her what it meant. When she translated,

he allegedly replied, in class, that she’d have to take that up with her boyfriend.

       174.    Professor Farzinpour told Ms. Calovine that he had no recollection of such an

exchange. Ms. Farzinpour noted that if Ms. Alali had indeed made the statement she claimed to

have made, then that would constitute sexual harassment of Professor Farzinpour by Ms. Alali.

Ms. Calovine became silent on this point and moved forward with other questions.

       175.    Ms. Calovine asked if Professor Farzinpour recalled whether Ms. Alali’s boyfriend,

Mr. Marinelli, told Professor Farzinpour that Ms. Alali had attempted suicide. Professor

Farzinpour was shocked because he had not previously known about this, and stated that Mr.

Marinelli had never informed him of that tragic occurrence.

       176.    Ms. Calovine asked Professor Farzinpour if he recalled Mr. Marinelli telling him

that Ms. Alali had a problem with alcohol abuse. Once again, Professor Farzinpour was shocked

and responded that he knew nothing of the sort and that had he known, he would never have met

with Ms. Alali at any establishment that served alcohol. (The personal issue for which Ms. Alali

had informed him she was in treatment was not alcohol or substance abuse.)

       177.    When Professor Farzinpour asked Ms. Calovine whether any evidence submitted

to date refuted his account of the events, Ms. Calovine replied in the negative.

       178.    Ms. Calovine informed Professor Farzinpour that she had completed witness

interviews, which included: three interviews with Ms. Alali, two interviews with Professor




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Farzinpour, and one interview with Mr. Marinelli, Ms. Alali’s boyfriend. Notably absent from Ms.

Calovine’s witness interview list was Professor Farzinpour’s wife.

       179.    Ms. Calovine did not inform Professor Farzinpour that two additional witness

statements had been taken by the Equity Office, from one current and one former student of

Professor Farzinpour. Both witness statements testified that Ms. Alali had eagerly boasted about

her complaint against Professor Farzinpour, stating that she was the “reason he got fired.”

       180.    When Professor Farzinpour and his advisor pointed out that the investigation

process had not been fair and unbiased, as previously promised, Ms. Calovine responded that the

investigation was being conducted “through the lens of the student,” Ms. Alali, the complainant

or reporting party.

       181.    Conducting an investigation “through the lens of the student” was inconsistent with

the Policy, which promises that the investigation will be “thorough, impartial, and fair.” It was

also inconsistent with Ms. Calovine’s promise at their initial meeting that the investigation would

be “absolutely impartial.”

       182.    Toward the conclusion of the second interview, Professor Farzinpour’s advisor

asked what would happen if Professor Farzinpour did decide to move forward with a complaint

about Ms. Alali’s conduct. Ms. Calovine replied that Ms. Alali had completed her coursework on

campus and was no longer on campus, falsely implying that there was nothing that Berklee could

do to investigate a sexual harassment complaint in that situation. (In fact, Ms. Alali did not

graduate from Berklee until May 2020.)

       183.    Professor Farzinpour’s administrative leave continued throughout the Fall 2019

semester, as he awaited a decision.




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       F. Berklee Declines to Interview Professor Farzinpour’s Corroborating Witness

       184.     Professor Farzinpour identified his wife as a witness to Ms. Calovine and Ms.

Downes on several occasions, including at the first interview, on August 5, 2019. Ms. Calovine

responded that she would let Professor Farzinpour know if an interview with his wife was needed.

       185.     Despite Professor Farzinpour’s repeated requests, Ms. Calovine did not interview

his wife.

       G. Berklee Reacts Harshly to Farzinpour’s Use of Campus Rehearsal Rooms and Denies
          Him the Opportunity to Apply for Grants.

       186.     The July 30, 2019 Notice of Investigation Letter stated, “While on leave, you

should refrain from participating in any Berklee activities, whether on or off campus.”

       187.     Professor Farzinpour did “refrain from participating in any Berklee activities”

during his administrative leave. For example, he refrained from attending an event on Berklee

Teachers on Teaching, weekly departmental meetings, and office hours – all of which are normally

paid activities for faculty members. He also refrained from attending or participating in Berklee

concerts and departmental seminars.

       188.     Professor Farzinpour did not, however, think the Notice meant that he was banned

from ever being physically on campus during his leave, just that he should refrain from

participating in Berklee activities.

       189.     Professor Farzinpour asked Ms. Downes about his continuing work with Berklee

colleagues, and she said she understood about his continuing his professional activities.

       190.     After obtaining Ms. Downes’ clarification, Professor Farzinpour returned to the

Berklee campus on three evenings to rehearse music with a Berklee colleague and other music

professionals, which did not constitute “Berklee activities.”




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         191.   After those three evenings, Berklee reacted by notifying Professor Farzinpour that

he would be arrested and charged if he set foot on the campus again during his administrative

leave.

         192.   Professor Farzinpour attempted to explain to Ms. Downes that his honest and

reasonable misunderstanding of Berklee’s intentions in the Notice derived from ambiguity in its

language, but she did not respond. Berklee kept the ban from campus and threat of arrest in place.

         193.   Professor Farzinpour did not go to campus again during his administrative leave

after receiving Berklee’s threat of arrest, with one exception, on January 14, to meet with his

division dean, Matthew Nicholl, a meeting which had been coordinated in advance, with

permission given to him to be at Berklee.

         194.   During the Fall 2019 semester, Professor Farzinpour expressed a wish to apply for

the Newbury Comics Award, the highest monetary award that Berklee offers. This was a

particularly important opportunity for Professor Farzinpour, as it was a very prestigious and high-

value grant.

         195.   Berklee denied Professor Farzinpour the opportunity to apply for this grant and

other awards, because of the involuntary administrative leave. Notably, he had been a finalist for

the Newbury Comics Award the previous year, and he had been told by the Director of Faculty

Development that his application had tied for first place and was narrowly beaten by the eventual

winner. The Director of Faculty Development had further indicated that Professor Farzinpour had

submitted a very strong application and had a substantially high likelihood of winning the award

the following year (2019–2020).




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   H. Berklee Imposes Unreasonable Conditions on Viewing Investigation Materials

       196.    On October 16, 2019, Ms. Calovine informed Professor Farzinpour that the

investigation materials had been made available to Ms. Alali and that she had submitted a response.

Berklee notified Professor Farzinpour that he could view the materials, but only upon signing a

waiver, which stipulated as follows:

               I understand I am not permitted to save, copy, print, photograph, or
               otherwise preserve or reproduce the documents provided.

               I understand I am not permitted to send, forward, or otherwise share
               the documents with anyone.

               I understand I am not permitted to take any retaliatory action against
               any witnesses who have provided information to the Investigator or
               anyone else involved in the process.

               I understand that I am permitted to take notes during the
               Investigative File Review.

       197.    Because the Policy promised that he would “be given the opportunity to review a

summary of relevant evidence” and to “submit any comments about this summary,” Professor

Farzinpour was not willing to waive his rights, specifically his right to share the investigative

materials with his advisor, his attorney, and his wife. He also could not in good faith promise not

to “send, forward, or otherwise share the documents with” his attorney in order to pursue

enforcement of his legal right to fair, impartial, and unbiased process, and to prepare for possible

legal action if needed. Professor Farzinpour also did not see how he could obtain advice of counsel

for this purpose if he could not “save, copy, print, photograph, or otherwise preserve or reproduce

the documents” from the investigation. Because he refused to sign the waiver that Berklee imposed

as a condition of receiving access to the evidence gathered in the investigation, Berklee refused to

give Professor Farzinpour access to the evidence. Professor Farzinpour was therefore unable to

respond to the evidence before Berklee proceeded to a finding of responsibility.

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       I. Berklee Completes the Final Report More than Four Months After Initial Complaint

       198.    Professor Farzinpour was kept in the dark for months without updates regarding the

status of the investigation and final outcome. He learned that during the Fall of 2019, his Dean had

reached out to the Equity Office every few weeks to find out the status of the investigation and

whether Professor Farzinpour would be returning to teach classes in the Spring semester.

       199.    Ms. Calovine finally notified Professor Farzinpour of the outcome of the

investigation and issued a final report of investigation on December 13, 2019, more than four

months after the complaint was filed, and only after Professor Farzinpour retained an attorney to

press Berklee on its delayed proceeding.

       200.    Only after Berklee announced its decision to find Professor Farzinpour responsible

for sexual harassment and to suspend him, was he given access to the evidence gathered in the

investigation for the first time — evidence to which he was not afforded the opportunity to respond

prior to Berklee’s determination of responsibility.

       201.    The evidence included an audio recording (the “Recording”) created by Ms. Alali

and her boyfriend, Mr. Marinelli, immediately after the alleged incident on July 24, 2019. In the

Recording, Ms. Alali told Mr. Marinelli: “And I have to say that when he asked me to go to Eataly,

I was like, I’m getting myself into some — something”; “And of course like, I actually took what

you said into — I was like, looking at his hand, I was seeing like, did he drop anything in the

drink?” (Ms. Alali acknowledged in the Recording that he had not drugged her drink.) Such

statements indicated her imagination of things that simply were not there.

       202.    In the Recording, Ms. Alali falsely recounted several conversations that simply did

not take place. Additionally, she falsely attributed to Professor Farzinpour statements of a sexual




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nature that she herself had made to him, routinely reversing and flipping their roles in the

conversation that had occurred and that had made Professor Farzinpour severely uncomfortable.

       203.     Ms. Alali also said in the Recording, “I have to tell you, the whole fucking time,

I’m being such a good actor.” She explained repeatedly to her boyfriend that she “was testing him

the whole time,” “I wanted to dig. I wanted to see like, what he wanted,” and “I wanted to test, and

see how far he went.” Ms. Alali’s boyfriend asked her on the Recording, “I can see why he would

feel that you’re insinuating something that’s beyond testing him, you get what I’m saying?”

       J. Berklee Erroneously Finds Farzinpour Responsible and Imposes Sanction

       204.    Berklee erroneously found Professor Farzinpour responsible for sexual harassment

and imposed a sanction that included: (i) an unpaid suspension of thirty days, (ii) mandatory

training, (iii) a ban on private off-campus meetings with students, (iv) a permanent ban on use of

Berklee facilities “for purposes that are not directly related to [Farzinpour’s] teaching

responsibilities,” (v) ineligibility for non-contractual work and Berklee’s Summer Sessions, and

(vi) a final written warning.

       205.    Berklee’s imposition of a permanent ban on using Berklee facilities for rehearsals

not related to teaching responsibilities was extraordinarily harsh, given that faculty members rely

on Berklee rehearsal space for musical pursuits that are important to their professional careers as

musicians.

       206.    Berklee justified that harsh sanction with reference the fact that Professor

Farzinpour used Berklee rehearsal space several times during his administrative leave, before he

was threatened with arrest, even though he explained that he had honestly and reasonably

understood the Notice’s language, “you should refrain from participating in any Berklee activities,




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whether on or off campus,” to mean that he could be on campus as long as he was not participating

in “Berklee activities.”

          207.   The final written warning in the outcome letter stated: “In summary, we require that

you consistently conduct yourself in a manner that upholds the values of the institution and

profession: values of respect and modeling appropriate conduct and interactions both in and

outside the classroom. . . . Please understand that any further violations of Berklee policy or

standards of conduct, or willful disregard for expectations . . . will result in the termination of your

employment.”

          208.   Professor Farzinpour was not found responsible for a violation of the Relationships

Policy.

    VII.     Berklee Denies Professor Farzinpour’s Appeal

          209.   Professor Farzinpour submitted his timely appeal of the findings on January 7,

2020, based on the following grounds: (i) the investigation process was not adhered to and such

non-adherence may have had a material impact on the outcome of the matter under investigation,

and (ii) the sanctions assigned were disproportionate to the alleged violation or to the sanctions

issued to others who have been found responsible for substantially similar violations.

          210.   On January 17, 2020, Berklee notified Professor Farzinpour that his appeal met

sufficient grounds for review, and that it would assemble an appeal panel accordingly.

          211.   Ms. Downes appointed the following individuals to the appeal panel: (i) Michelle

Quinones, Director of Community Standards and Conflict Resolution and Deputy for Student

Appeals, (ii) S. Jay Kennedy, Vice President for Academic Affairs/Vice Provost, and (iii)

Kimberly Haack, Chief of Staff, Boston Conservatory at Berklee.




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         212.   In the Appeal Outcome Letter of February 5, 2020, Berklee denied Professor

Farzinpour’s appeal and upheld the finding of responsibility and all sanctions.

   VIII. Professor Farzinpour Files a Grievance Claim

         213.   On February 20, 2020, Professor Farzinpour filed a Step 3 grievance claim with

Larry Simpson, Provost/Senior Vice President for Academic Affairs, pursuant to Article 11 of the

Grievance Procedures of Local 4412, the Berklee Teacher’s Union.

         214.   On May 11, 2020, Professor Farzinpour was notified that his grievance claim had

been denied on May 8, 2020, without any explanation.

   IX.      Professor Farzinpour’s Return to Berklee and Ensuing Publicity

         215.   Professor Farzinpour completed his suspension of thirty days and resumed his

teaching at Berklee on Thursday, February 20, 2020, several weeks into the Spring semester.

         216.   In Fall 2019, Professor Farzinpour had requested a discussion with his departmental

chair, Mr. Carrick, to discuss the Spring and Summer semester teaching schedules, in anticipation

of his reinstatement. However, he was not afforded this opportunity. As a result, when he was

reinstated in Spring 2020, he was given fewer classes than his normal full course load, which

resulted in a reduction of pay.

         217.   Shortly after his return to teaching, on March 1, 2020, Ms. Alali posted a lengthy

public message on both Facebook and Instagram, which included false statements about Professor

Farzinpour:

                I will not keep silent anymore about something that has been such a
                heavy burden for me to keep to myself for over half a year now.

                A professor of mine at Berklee whom I loved, trusted, and respected,
                sexually harassed me last summer 2019. What was supposed to be a
                coffee outing to discuss mental health, mindfulness, and meditation,
                turned into a date-like outing where he explicitly expressed his
                sexual attraction to me, claimed that I sexualize myself through my

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    clothing choices to make up for body insecurities (including my
    clothing/style that day — a black tank top, gray gym shorts, a
    skateboard — picture attached was taken 3 hours before the outing),
    said that although he could be fired for saying this, he thought I was
    “hella hot and sexy,” asked me why do I think some of his female
    students attend his class in “daisy-duke shorts and low cut shirts” if
    they know he’ll be there, and lastly attempted to use the concept of
    polyamory to justify why following him to the bathroom of a bar
    would be okay — though he had a wife and I had a boyfriend.

    The reason why I am choosing to share my story, is because after a
    LENGTHY investigation with my school’s Equity Office where he
    was found “responsible for violating Berklee’s Equity Policy”, he
    has been permitted to return and teach classes as normal, with none
    of this information given out publicly to the student body and
    Berklee Community. This is abominable, shameful, and completely
    reflective of a deeply-rooted systemic issue.

    On February 4th, 2020, coincidentally the day that I learned my
    appeal was dismissed and this professor would be able to return to
    campus in less than one month, Berklee’s President, Roger Brown,
    sent out an email in response to, “The Atlantic Story on Sexual
    Harassment,” which was yet another case in which a Berklee student
    was involved in a sexual harassment case with a professor. Just like
    the posters we see on every corner, and in every Berklee bathroom,
    Roger Brown echoed, “If you witness or hear of unacceptable
    behavior, please contact the Center for Diversity, Equity, and
    Inclusion or Human Resources to learn more about support
    resources and reporting options.” Well, I did. My harasser has been
    given his light sanctions — his slap on the wrist — and is now back
    teaching.

    Just two short years ago following the Boston Globe article and
    backlash from the Berklee community regarding the lack of proper
    handling of sexual harassment and assault cases, Roger Brown
    shared these words during the forum at the Berklee Performance
    Center: “We are not going to tolerate it,” he said. “[...] And behind
    every one of those issues is at least one — in many cases, multiple
    students — whose dream was shattered,” he said. “Whose
    expectations of us were destroyed, and who lost trust in us and
    maybe in themselves. [...] Today’s dialogue affirms our ongoing
    commitment to eradicating abuse and harassment,” he said. “It is an
    important step in listening to students, setting a path forward
    together and holding each other accountable.




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               To Roger Brown and the Berklee Equity Office: this is not “zero
               tolerance,” as you assure the Berklee community. If a professor
               who’s been found to have violated the rules on sexual harassment is
               back in the classroom, that puts every student who signs up for his
               class at risk of having to endure his behavior. Therefore, this cannot
               possibly be zero tolerance, if it’s okay to put students at risk. This
               is, “being permissive of professors who shamelessly sexualize their
               students.”

               This incident occurred during my last on-campus semester at my
               dream school. Before this, I spoke highly of Berklee and felt forever
               appreciative for what the school gave me. I do not want this
               horrendous, traumatizing event to taint my Berklee experience for
               the rest of my life. What we need is a dramatic change in the system,
               and more specifically a change in the process of assigning proper
               sanctions for professors found guilty of sexual harassment and
               assault. I, and I’m sure all my fellow students, want to see the
               prioritization of students’ safety, and their physical, emotional, and
               mental well being. Do something.

       218.    The following day, on March 2, 2020, Mr. Marinelli, Ms. Alali’s boyfriend,

revealed information about Berklee’s confidential investigation on social media, explicitly using

Professor Farzinpour’s name, thus destroying any confidentiality that remained:

               Peyman Farzinpour was found guilty of sexually harassing a
               student. No sanctions against him were lifted or lightened. He was
               never exonerated or found “innocent” of anything.

               I will not be giving details beyond this, but some of the comments
               on the last post that I saw regarding this situation left a pretty fucking
               bad taste in my mouth and y’all deserve to know the truth. Too much
               of this shit has been going on for this to be taken so lightly.

       219.    A few days after these acts of retaliation by Ms. Alali and Mr. Marinelli, printed

signs listing several male Berklee professors’ names, including that of Professor Farzinpour, were

plastered around the Berklee campus and on various streets throughout Back Bay, with the

following text at the bottom: “We will not be silenced.” The posters clearly implied that the male

professors who were named were sexual predators. Berklee ultimately removed these signs from

its campus, only after the undersigned counsel requested that Berklee do so. Professor Farzinpour’s

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attorney requested surveillance footage of the areas of campus where the posters had been placed,

but Berklee refused to share this footage with Professor Farzinpour and his counsel.

        220.   The Boston Globe then published an article on March 16, 2020 about sexual

harassment allegations against several male professors at Berklee College, including Professor

Farzinpour. See Diti Kohli, Sexual Harassment Allegations Against Professors Set off Social

Media Frenzy at Berklee College of Music, Bos. Globe (Mar. 16, 2020, 4:42 PM),

https://www.bostonglobe.com/2020/03/16/metro/sexual-harassment-allegations-against-

professors-set-off-social-media-frenzy-berklee-college-music. The article named Ms. Alali,

highlighting her public social media post, and named Professor Farzinpour.

        221.   On March 16, 2020, Ms. Alali posted the Boston Globe article, which identified

Professor Farzinpour by name, on Facebook, with a call to action:

               I know there’s a lot going on, but it would mean a lot to me and the
               rest of the Berklee community if people took the time to read and
               share this, because it’s a huge issue that needs to be resolved ASAP.

               Thank you to the Boston Globe and Diti Kohli for bringing massive
               light to this horrific issue. And thank you to my fellow peers for
               speaking out, for the support, and for continuing this conversation,
               because something clearly needs to change.

               ‘I feel empowered, and hopeless at the same time.’ Berklee — DO
               SOMETHING.

Ms. Alali posted a similar message on Instagram on the same day. She also mentioned the article

and directed her followers to read it in an Instagram post on May 7, 2020, and included a link to

the article in the “bio” on her Instagram profile from March 16, 2020 until approximately May 11,

2020.

        222.   On March 17, 2020, Roger Brown, the President of Berklee College, sent an email

alerting the entire Berklee community, “Yesterday, the Boston Globe published a story about



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recent social media posts by Berklee students. In these posts, students shared strong feelings about

experiences they described having with some Berklee faculty members.” President’s Email to

Berklee, March 17, 2020.

           223.   President Brown continued: “I want to reaffirm my unwavering commitment to

eliminating harassment and misconduct from our campus, and apologize to anyone who has

experienced mistreatment at Berklee. The behaviors that cause us to take action against faculty are

abhorrent, and we will continue to do everything within our power to eliminate these behaviors

from our community.” Id.

           224.   President Brown continued: “Students, we know you are frustrated. . . . Reports to

our Equity Team—and their subsequent investigations into allegations—allow us to take action.”

Id.

           225.   President Brown wrote that “social media has an important role in illuminating the

experience of survivors,” while acknowledging that “we cannot impose a sanction based solely on

a social media post” and that “in order to terminate or otherwise sanction a faculty member,” there

must be “a thorough investigation using our equity process.” Id.

           226.   President Brown defended Berklee’s “strong track record of taking decisive

action,” and opined that “true change will happen only when we all take responsibility for changing

behavior and continue to administer serious consequences to those who refuse to comply with our

values and our standards.” He noted “how much work is yet to be done” to “root out abusive

behavior,” and that at Berklee, “doing the work exposes the ugly and reprehensible.” Id.

      X.      Berklee Terminates Professor Farzinpour’s Employment

           227.   As a result of Ms. Alali’s public Facebook social media postings about Professor

Farzinpour, Mr. Marinelli’s Facebook post naming Professor Farzinpour, and the posters around



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Berklee listing his name, Professor Farzinpour’s students came to his class and urgently questioned

him publicly during class time. The students asked him about the allegations, the investigation, his

sanction, and his administrative leave. Confronted by students demanding questions, Professor

Farzinpour believed that he could not preserve his ability to teach them with any effectiveness if

he did not answer their questions, provide explanations, and respectfully address their concerns as

their teacher. Assuring his students that they were not in the company of a sexual predator, he

defended himself, explaining that Berklee’s finding of responsibility, which had become public in

Ms. Alali’s and Mr. Marinelli’s social media posts, was erroneous, and that the Berklee process

had been unfair. His students reacted in an overwhelmingly supportive manner.

       228.    Then, on March 30, 2020, Mr. Carrick, the department chair, emailed Professor

Farzinpour to express “surprise and disappointment” upon learning that Professor Farzinpour may

have discussed the matter in class rather than “sticking to the curriculum.”

       229.    Professor Farzinpour replied that he had fully covered the curriculum, but also had

felt obligated to answer students’ questions, given their concerns over the public reporting about

him. He expressed disappointment at Mr. Carrick as his departmental chair for not having done

more to protect his faculty member from false reports and retaliatory action, and expressed

surprise, given President Brown’s email to the entire community about the Boston Globe article,

at any expectation for him to remain silent rather than defend himself against defamatory and

damaging public statements.

       230.    On April 2, 2020, without any notice, opportunity to be heard, inquiry,

investigation, or any process whatsoever, Professor Farzinpour was informed by Mr. Carrick that

Berklee was terminating his employment.




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          231.   Upon his termination, and without warning, Berklee disabled Professor

Farzinpour’s password for his Berklee issued laptop computer that Berklee supplied to every

professor. Berklee denied Professor Farzinpour’s request to be allowed brief access to the laptop,

supervised by Berklee staff, for the limited purpose of retrieving his files. Professor Farzinpour

therefore had to return the laptop to Berklee without being able to keep any of his files, including

important and extensive musical work that he had done and saved on the laptop. That work is now

lost.

    XI.      Professor Farzinpour’s Injuries

          232.   Professor Farzinpour has suffered and will continue to suffer significant damages

as a result of Berklee’s erroneous finding of responsibility, thirty-day suspension, and wrongful

termination of his employment.

          233.   As a result of Berklee’s biased and flawed investigation, and resulting erroneous

decisions to suspend and then terminate him, Professor Farzinpour suffers from severe depression

and anxiety. He has regularly seen a psychiatrist, who raised the levels of his medications and

prescribed additional medications.

          234.   Professor Farzinpour’s suffering was so severe and apparent to his family that they

encouraged him to receive ketamine treatments. Professor Farzinpour received numerous ketamine

treatments in Los Angeles and New York, to aid in lessening his extremely severe depression,

anxiety, and migraines.

          235.   Due to his severe depression, anxiety, and migraines, he has been unable to fully

perform his duties for ENSEMBLE / PARALLAX, despite the important and rigorous schedule

of events.




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        236.    By being barred from faculty events and meetings, Professor Farzinpour, who

received hourly compensation from Berklee, suffered a loss of wages because he would have been

compensated for attending such events.

        237.    As part of the sanction, Berklee barred Professor Farzinpour from teaching summer

courses, resulting in additional lost wages.

        238.    By being unfairly barred from the Berklee campus for over an entire semester,

Professor Farzinpour could not recruit, advertise, or rehearse for ENSEMBLE / PARALLAX in

the manner he has done in the past. As a result, Professor Farzinpour incurred unexpected expenses

for rehearsal space and talent, and suffered lower attendance rates at performances.

        239.    As a further result of Berklee’s and Ms. Alali’s actions, his employment with the

Rivers Symphony Orchestra was also terminated, in or around March of 2020.

        240.    Finally, because of his wrongful termination from Berklee, Professor Farzinpour

suffered loss of income on which he depended for his livelihood.

                                             COUNT I
                                        Violation of Title IX

        241.    Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

        242.    Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et. seq., provides,

in relevant part:

                No person in the United States shall, on the basis of sex, be excluded
                from participation in, be denied the benefits of, or be subjected to
                discrimination under any education program or activity receiving
                Federal financial assistance.

        243.    Title IX applies to all public and private educational institutions that receive federal

funding, which includes Defendant Berklee College of Music.



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       244.    Title IX may be violated by a school’s failure to remedy sexual harassment, and by

a school’s imposition of discipline where gender is a motivating factor in the decision. In either

case, the statute is enforceable through an implied private right of action. See Cannon v. Univ. of

Chicago, 441 U.S. 677 (1979).

       245.    Title IX requires schools to adopt grievance procedures providing for prompt and

equitable resolution of sexual misconduct complaints. 34 C.F.R. § 106.8(b).

       246.    Title IX requires that the grievance procedures adopted by a school such as Berklee

must accord a fair process to all parties. 34 C.F.R. § 106.8(b); 34 C.F.R. § 668.46(k)(2)(i).

       247.    For evaluating whether a school’s grievance procedures are “prompt and

equitable,” the Title IX guidance from OCR that was in effect at the time of the investigation of

Professor Farzinpour identifies several elements, including whether the school “provides

notice of . . . how to file a complaint, to . . . employees”; “ensures an adequate, reliable, and

impartial investigation of complaints, including the opportunity to present witnesses and other

evidence”; and “designates and follows a reasonably prompt time frame for major stages of the

complaint process.” See 2017 Q&A, supra, at 3.

       248.    OCR’s 2017 Q&A provides that in imposing “interim measures during the

investigation of a complaint . . . a school may not rely on fixed rules or operating assumptions that

favor one party over another, nor may a school make such measures available only to one party.

Interim measures should be individualized and appropriate based on the information gathered by

the Title IX Coordinator.” Id.

       249.    The First Circuit recognizes the erroneous outcome theory of liability, following

the standard articulated by the Second Circuit in Yusuf v. Vassar Coll., 35 F.3d 709 (2d Cir. 1994).




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       250.    To plead an erroneous outcome claim under Title IX, a Plaintiff found responsible

for sexual harassment in a college disciplinary proceeding must allege: (1) facts sufficient to “cast

some articulable doubt on the accuracy of the outcome of the disciplinary proceeding,” and (2)

“gender bias was a motivating factor.” Doe v. Trs. of Bos. Coll., 892 F.3d 67, 91 (1st Cir. 2018).

       251.    With respect to the first element, Defendant Berklee College of Music’s finding

that Plaintiff was responsible for sexual harassment was utterly erroneous. The “pleading burden

in this regard is not heavy” and can be met by alleging “particular procedural flaws affecting the

proof.” Yusuf, 35 F.3d at 715.

       252.    Facts casting much more than “articulable doubt” on the accuracy of the outcome

are described in detail above, but such facts include, without limitation:

           a. The Investigator, by her own admission, investigated the case “through the lens of”

               the complainant.

           b. The Investigator did not interview Professor Farzinpour’s wife, with whom he

               shared his first-hand account immediately after the alleged incident, who could

               have corroborated his account; yet the Investigator did interview Ms. Alali’s

               boyfriend, with whom she shared her first-hand account after the alleged incident.

           c. The Investigator dismissed Professor Farzinpour’s recounting of Ms. Alali’s

               unwelcome sexual conduct toward Professor Farzinpour, including (i) asking

               whether he brought all of his students on “dates” there, (ii) thrusting out her chest

               while stating her bra size, (iii) asking about Professor Farzinpour’s sexual

               relationship with his wife, (iv) asking if he would like to engage in a “threesome”

               with her and another Berklee student, (v) asking him to have sex with her in the

               restaurant bathroom, (vi) demanding repeatedly that he get them a hotel room for



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    sexual activity, (vii) pulling Professor Farzinpour toward her for cheek kisses

    goodbye, and (viii) while leaving, expressing her desire to go out with him again

    the following week.

 d. The Investigator ignored the statements of two Berklee students who came forward

    of their own accord to speak to the Equity Office about Plaintiff’s good character

    and to report Ms. Alali’s false boasting to a group of students, while the

    investigation was pending, that she was “the reason he got fired.”

 e. Berklee denied Professor Farzinpour access to his email, disabling him from

    locating and presenting evidence that could corroborate his account.

 f. The Investigator failed to properly weigh exculpatory text messages that Ms. Alali

    transmitted to her boyfriend during the time that she was with Professor Farzinpour

    on the day of the alleged incident. The text messages detailed her state of mind and

    stated that her meeting with Professor Farzinpour was going well and that she was

    “good.”

 g. Both the Investigator and Ms. Downes failed to acquire security footage from the

    day and location of the alleged incident, despite Plaintiff’s early request.

 h. The Investigator ignored exculpatory evidence in the form of an audio recording

    wherein Ms. Alali acknowledged that she was “being such a good actor,” “was

    testing him the whole time,” and “[she] wanted to dig. [She] wanted to see like,

    what he wanted.”

 i. The Investigator wrongly failed to credit that Professor Farzinpour did speak with

    Ms. Alali about meditation, health, and wellness, which he specifically referenced

    in his follow-up email to Ms. Alali the day after the alleged incident. The



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               Investigator falsely claimed that Farzinpour did not engage in any conversation

               about meditation, health, and wellness, contrary to evidence.

           j. The Investigator falsely asserted that Professor Farzinpour took Ms. Alali on an

               obscure path so as not to be seen by members of the Berklee community. In fact,

               the path that Professor Farzinpour and Ms. Alali took was a highly visible one,

               regularly frequented by Berklee community members, as well as the shortest and

               most direct route to the Prudential Center. Moreover, the Investigator falsely

               asserted that Professor Farzinpour had taken Ms. Alali through the Cheesecake

               Factory, which was physically impossible, given the route they took. These errors

               point to the Investigator’s failure to accurately gather facts and evidence.

       253.    Second, the circumstances suggest that gender bias was a motivating factor behind

the erroneous findings and the decision to impose an unjustly severe penalty upon Plaintiff. These

circumstances include, inter alia:

           a. Failure to afford a presumption of innocence, as the Investigator conducted the

               investigation, by her own admission, “through the lens of” the complainant.

           b. Berklee refused to allow Professor Farzinpour to file a sexual harassment complaint

               against Ms. Alali even though he alleged that she made him severely uncomfortable

               by engaging in conduct toward him that is explicitly mentioned in the Policy as

               examples of “unwelcome or unwanted sexual conduct”: “[l]ewd remarks,”

               “personal references to one’s anatomy,” “unwelcome sexual advances,”

               “references to sexual conduct, gossip regarding one’s sex life,” “[s]exual

               exhibitionism,” and “[i]nquiries into one’s sexual activities.” Policy, supra, at 4.

               Berklee refused to investigate Professor Farzinpour’s complaint, even though OCR



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    required that any rights or opportunities that a school makes available to one party

    should be made available to the other party on equal terms. 2017 Q&A, supra at 4.

 c. The Investigator failed to interview Professor Farzinpour’s wife, yet, inexplicably

    interviewed Ms. Alali’s boyfriend, though both similarly received immediate

    reports after the alleged incident on the night it occurred. Berklee treated

    analogously situated individuals unequally, even though OCR required that any

    rights or opportunities that a school makes available to one party should be made

    available to the other party on equal terms. 2017 Q&A, supra at 4.

 d. Berklee prohibits retaliation, but the Policy and the Notice of Investigation stated

    that “retaliation against a reporting party or witness may be violating Berklee

    policy,” without mention of potential retaliation against a respondent who similarly

    participates in an investigation. Id. at 8. In its retaliation policy, Berklee clearly

    flouted OCR’s requirement that any rights or opportunities that a school makes

    available to one party should be made available to the other party on equal terms.

    2017 Q&A, supra at 4.

 e. Berklee’s ban on retaliation includes “causing third parties to take” retaliatory

    action, but Berklee took no action to address Ms. Alali’s retaliatory public social

    media posts about her dissatisfaction with Berklee’s sanction, and her boyfriend’s

    retaliatory public social media post naming Professor Farzinpour, which caused

    third parties to take retaliatory action by plastering the campus with posters listing

    his name as a sexual predator. In contrast to its egregious failure to address

    retaliation against Professor Farzinpour for his participation in the investigation,




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    Berklee repeatedly warned Professor Farzinpour about the importance of non-

    retaliation.

 f. Berklee failed to address Ms. Alali’s reported breach of confidentiality in her

    remarks to a group of students about Professor Farzinpour, even though it

    threatened the integrity of an ongoing investigation. In contrast, Berklee abruptly

    terminated Professor Farzinpour’s employment, without notice or opportunity to be

    heard, ostensibly for violating “expectations,” when he answered students’

    questions in class about the Title IX matter, after they, along with the public, had

    already seen Ms. Alali and Mr. Marinelli’s public social media posts about the

    matter, as well as the signs posted around campus.

 g. Berklee imposed the interim measure of banning Professor Farzinpour from his

    teaching and from the campus upon receipt of Ms. Alali’s complaint, prior to any

    inquiry or information-gathering whatsoever, suggesting that Berklee relied on

    blanket assumptions about gender rather than making an “individualized and

    appropriate” decision “based on the information gathered” as the 2017 Q&A

    requires. 2017 Q&A, supra, at 3.

 h. The Investigator looked with closed-minded skepticism upon Professor Farzinpour

    during the investigatory interviews as he shared his account of the events.

 i. Berklee terminated Professor Farzinpour, without any notice or opportunity to be

    heard, within weeks of his female accuser going public in social media posts urging

    Berklee to “DO SOMETHING,” and embarrassing publicity putting pressure on

    Berklee to demonstrate that it takes sexual harassment by males seriously.




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       254.    Berklee’s bias against Plaintiff as the accused male resulted in an erroneous finding

of responsibility after a biased investigation, and eventually a wrongful termination motivated by

gender bias.

       255.    Berklee faced pressure to vindicate female complainants against male professors

because of embarrassing public attention to the school’s past failings.

       256.    A Boston Globe investigation in 2017 had revealed that Berklee placed pressure on

students to remain silent regarding blatant sexual harassment while the school quietly dismissed

at least three professors. See Kay Lazar, Berklee Let Teachers Quietly Leave After Alleged Sex

Abuse, and Pushed Students for Silence, supra.

       257.    The pressure on Berklee to vindicate female students alleging sexual misconduct

caused Berklee to subject Plaintiff to a biased and unfair process, which was tilted in favor of the

female complainant and against the male respondent.

       258.    After Berklee’s finding and sanction, and after Plaintiff served his suspension, Ms.

Alali’s and Mr. Marinelli’s public social media posts in early March 2020, and the resulting Boston

Globe article on March 16, 2020, put unbearable pressure on Berklee to terminate Professor

Farzinpour, as the male who was now accused publicly.

       259.    Despite the fact that Berklee’s investigation had resulted in imposition of a thirty-

day suspension on Professor Farzinpour rather than a termination, the pressure on Berklee

produced by the public claims that Berklee was too lenient on male faculty accused of sexual

misconduct led Berklee to look for a pretext to relieve that pressure by terminating Professor

Farzinpour.

       260.    Berklee was motivated to fire the accused male professor in order to vindicate the

accusing female complainant who, unsatisfied with Berklee’s sanction of Professor Farzinpour,



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went public and caused Berklee public embarrassment for allegedly not taking sexual harassment

of women seriously enough.

        261.    A college that is motivated to take adverse action against an accused male in order

to respond to or protect itself from negative publicity about sexual harassment is motivated by

gender bias and engages in unlawful sex discrimination under Title IX. Doe v. Columbia Univ.,

831 F.3d 46, 58 (2d. Cir. 2016) (stating that “fear of negative publicity or of Title IX liability[] are

not necessarily . . . lawful motivations distinct from sex bias,” and that an institution “that adopts,

even temporarily, a policy of bias favoring one sex over the other in a disciplinary dispute . . . in

order to avoid . . . bad publicity[] has practiced sex discrimination, notwithstanding that the motive

for the discrimination did not come from ingrained or permanent bias against that particular sex”).

        262.    This unlawful discrimination in violation of Title IX proximately caused Plaintiff

to sustain substantial injury, damage, and loss, including, but not limited to: mental anguish; severe

emotional distress; injury to reputation; past and future economic loss; deprivations of fair process;

loss of educational opportunities; and loss of future employment prospects.

        263.    As a direct and proximate result of the above conduct, Plaintiff has sustained

tremendous damages, including, without limitation, emotional and psychological distress, loss of

career opportunities, past and future economic injuries, reputational damages, and other direct and

consequential damages.

                                            COUNT II
                                         Breach of Contract

        264.    Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.




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       265.     Plaintiff signed an employment contract that expressly incorporated Berklee’s

policies, including the Non-Discrimination, Harassment, and Sexual Misconduct Equity Policy

and Process.

       266.     Based on the aforementioned facts and circumstances, Defendant breached express

and implied agreements with Plaintiff. A non-exhaustive list of Defendants’ breaches includes the

following:

       A. Failure to Conduct a “Thorough, Impartial, and Fair” Investigation

       267.     Berklee’s Policy promises that the “investigation will be thorough, impartial, and

fair, and all individuals will be treated with appropriate sensitivity and respect.” Berklee’s Policy,

supra, at 15.

       268.     Berklee failed to conduct a thorough, impartial, and fair investigation of the

complaint against Plaintiff, in violation of its own policies.

       269.     The Investigator failed to fairly examine the accounts of the complainant and the

respondent. As revealed by her own admission, the Investigator investigated in a biased manner,

“through the lens of” the complainant. The only impartial “lens” for conducting an investigation

is a neutral lens that is neither the complainant’s lens nor the respondent’s lens.

       270.     Additionally, the Policy states that the Chief Equity Officer/Title IX Coordinator,

at the beginning of the investigation, “appoints trained, impartial individual(s) to conduct the

investigation.” Berklee’s Policy, supra, at 14.

       271.     Berklee failed to appoint a “trained, impartial individual” to conduct the

investigation, as revealed by the Investigator’s admitted evaluation of the matter “through the lens

of” the complainant.




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       272.    Berklee failed to conduct a thorough investigation in failing to evaluate potentially

exculpatory evidence including, but not limited to (i) text messages between Ms. Alali and her

boyfriend; (ii) email messages between Professor Farzinpour and Ms. Alali; and (iii) an audio

recording in which Ms. Alali admitted her underlying motive for meeting with Professor

Farzinpour and cast doubt on the sincerity of her claims.

       273.    By excluding Professor Farzinpour from access to his own email account, Berklee

prevented him from finding and presenting critical emails necessary to defend himself, and failed

to gather relevant evidence, thus resulting in an incomplete investigation.

       274.    Berklee failed to conduct a thorough, impartial, and fair investigation when it failed

to interview Professor Farzinpour’s wife. When he returned home after the alleged incident, he

immediately shared his account with his wife. Similarly, Ms. Alali returned home and shared her

account with her boyfriend. Inexplicably, the Investigator interviewed Ms. Alali’s boyfriend for

the investigation, but did not interview Professor Farzinpour’s wife, who could have corroborated

his account. There is no good reason to interview one but not the other, and the failure indicates a

lack of thoroughness, impartiality, and fairness.

       275.    Berklee unfairly pre-determined the party whose narrative it would believe, and left

the complainant’s erroneous account insulated from challenge.

       B. Failure to Gather and Consider All Relevant Evidence

       276.    The Policy promises that “[t]he investigator will interview . . . all relevant

witnesses, and gather any relevant evidence (such as texts/emails, social media postings,

surveillance video, photos), and consider all relevant evidence.” Id. at 15.

       277.    As stated above, the Investigator failed to interview Professor Farzinpour’s wife,

refused him access to his emails in order to gather relevant materials for the investigation, and



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failed to consider potentially exculpatory evidence including, but not limited to (i) text messages

between Ms. Alali and her boyfriend; (ii) email messages between Professor Farzinpour and Ms.

Alali; and (iii) an audio recording in which Ms. Alali admitted to her underlying motive for

meeting with Professor Farzinpour and cast doubt on the sincerity of her claims.

       C. Failure to Provide Equal Opportunity to Share Information

       278.    The Policy promises that “[d]uring the investigation, the parties will have an equal

opportunity to share information and request that witnesses be interviewed.” Id.

       279.    The Investigator plainly did not provide the parties this equal opportunity.

       280.    Specifically, as discussed above, the Investigator chose to interview Ms. Alali’s

boyfriend while choosing not to interview Professor Farzinpour’s wife, when they were both

similarly and analogously relevant witnesses with respect to corroboration of each party’s account.

       281.    Also as discussed above, because Berklee locked Professor Farzinpour out of his

Berklee email account, he did not have the opportunity to share information that was contained in

his emails.

       D. Failure to Provide Access to Evidence

       282.    The Policy promises that “[b]efore a determination is made,” the parties will “be

given the opportunity to review a summary of relevant evidence, including their own statements[,]”

and be allowed to “submit any comments about this summary to the investigator within five (5)

calendar days.” Id.

       283.    The Policy promises this opportunity to all parties, and makes no mention that such

access could be conditional on a party agreeing to not “save, copy, print, photograph, or otherwise

preserve or reproduce the documents provided,” or to “send, forward, or otherwise share the




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documents with anyone,” all of which would seriously impair a party’s ability to properly seek

effective advice of counsel.

       284.       Professor Farzinpour was not given the opportunity to review a summary of the

evidence or a chance to submit comments to it before Berklee made the determination of

responsibility.

       285.       At the end of the evidence-gathering, Berklee refused to allow Professor Farzinpour

to have access to the evidence unless he agreed to sign a document waiving his right to “send,

forward, or otherwise share the documents with anyone,” or to “save, copy, print, photograph, or

otherwise preserve or reproduce the documents provided.”

       286.       Professor Farzinpour reasonably interpreted Berklee’s conditions as disabling him

from sharing the materials with his attorney for the purpose of obtaining adequate advice of

counsel on his legal rights to fair process and on potential legal action against Berklee for its

unlawful actions. He therefore refused to sign the waiver.

       287.       Berklee refused to share the evidence gathered with Professor Farzinpour and

therefore he was unable to review or submit comments on the evidence.

       288.       Professor Farzinpour was not given access to the evidence throughout the

investigation, and finally saw the evidence only after Berklee issued its final report, outcome, and

sanctions, in December 2019.

       289.       Even though the Policy does not state that parties’ access to evidence will be

conditional upon their agreeing to waive certain rights, Berklee imposed unreasonable conditions

on Professor Farzinpour’s access to evidence - conditions that appeared to impair his ability to

seek effective advice of counsel about that evidence.




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       290.    By attempting to force Professor Farzinpour to sign a waiver giving up his ability

to transmit the evidence to his attorney to obtain legal counsel, and then refusing to show him the

evidence when he did not agree, Berklee breached its promise in the Policy that parties will be

shown the evidence and have a chance to respond to it.

       E. Failure to Properly Apply the “Preponderance of the Evidence” Standard

       291.    The Policy promises that the “[t]he investigator will then review all relevant

evidence and determine whether or not the responding party is responsible or not responsible for

each allegation, using a preponderance of the evidence standard.” Id. at 16.

       292.    The Investigator failed to apply this standard in reviewing the evidence and finding

Professor Farzinpour responsible for sexual harassment.

       293.    First, the Investigator did not in fact “review all relevant evidence.” For example,

the Investigator denied Plaintiff’s requests that Berklee attempt to obtain security video footage

that could support his account, interview his wife, consider the testimony of other supporting

student witnesses, and allow him to access his email so that he could produce exculpatory

evidence.

       294.    The Investigator wrongly overlooked evidence that, when considered in

combination by any reasonable investigator, could lead only to the conclusion that Ms. Alali was

not in fact the victim of sexual harassment by Professor Farzinpour, but rather, a perpetrator of

sexual harassment against Professor Farzinpour. A non-exhaustive list includes the evidence that

Ms. Alali (i) lured Professor Farzinpour out under the guise of seeking advice on meditation and

yoga; (ii) repeatedly pushed a sexual agenda; (iii) propositioned Professor Farzinpour to have

sexual intercourse with her in the bathroom, which he rebuffed; (iv) repeatedly demanded that he

procure a hotel room for sexual intercourse, which he refused to do; (v) asked Professor Farzinpour



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to engage in a “threesome” with her and another Berklee student; (vi) pulled Professor Farzinpour

in to kiss him on the cheeks goodbye, (vii) asked Professor Farzinpour about his sexual relationship

with his wife; (viii) admitted on the Recording that she was “wanted to test” Professor Farzinpour

and that she was “being such a good actor”; and (ix) sent text messages to her boyfriend during

her time with Farzinpour indicating that all was going well and she was “good.”

          295.   The Investigator failed to consider evidence available from two Berklee students,

who went of their own accord to the Equity Office to testify that Ms. Alali falsely bragged to about

a dozen Berklee students she did not know, at Earls Kitchen + Bar, that she was “the reason he got

fired.”

          296.   The Investigator improperly discounted evidence that supported Professor

Farzinpour’s account, specifically, email messages that detailed Ms. Alali’s alleged purpose for

asking to meet with him: to discuss yoga and meditation retreats.

          297.   Had the Investigator correctly applied the prescribed “preponderance of the

evidence” standard, she would have reached the only plausible conclusion, namely, that Professor

Farzinpour did not harass Ms. Alali, but that Ms. Alali had harassed Professor Farzinpour.

          F. Berklee’s retaliation Against Professor Farzinpour

          298.   The Policy prohibits “retaliation against any person who . . . participates in an

investigation of possible discrimination,” and defines retaliation as “any conduct . . . that interferes

with . . . a person’s rights to access education and/or work.”

          299.   Ms. Alali’s social media posts in March 2020 called on Berklee to “DO

SOMETHING” about Professor Farzinpour. Berklee did “do something” in response the ensuing

publicity around the case, after the Boston Globe article of March 16, 2020, which named both

Ms. Alali and Professor Farzinpour.



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        300.   Berklee’s President, Roger Brown, sent an email to the entire Berklee Community

on March 17, 2020, the day after the Boston Globe article, confirming that one of the “three cases”

that the article detailed as being “reported to the Equity Team” had “led to a serious sanction.”

        301.   President Brown stated that “social media has an important role in illuminating the

experiences of survivors,” and described Berklee’s equity process as exposing “the ugly and

reprehensible.”

        302.   The President’s email had the effect of publicly confirming, clearly identifying, and

singling out Professor Farzinpour, even though, like many colleges, Berklee generally does not

comment publicly on specific personnel matters.

        303.   President Brown’s email was retaliatory in violation of Berklee’s Policy on

retaliation.

        304.   The email encouraged others at Berklee to retaliate against Professor Farzinpour.

        305.   Ultimately, Berklee’s retaliation led to its finding a weak pretext to terminate

Professor Farzinpour, despite the fact that Berklee’s investigative process had produced the

outcome of a thirty-day suspension.

        G. Failure to Address Retaliation Against Professor Farzinpour

        306.   The Policy “prohibits retaliation against any person who, in good faith . . .

participates in an investigation of possible” harassment. It promises that retaliation against an

individual “for assisting in providing information in the context of an investigation or disciplinary

proceeding pursuant to this policy . . . will be subject to discipline pursuant to this policy and the

Equity Complaint Process.” Berklee’s Policy, supra, at 8.

        307.   Berklee entirely failed to respond to reports to the Equity Office, while the

investigation was pending, by several Berklee students with first-hand accounts, that Ms. Alali



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approached approximately a dozen Berklee students who were unknown to her, at Earls Kitchen

+ Bar, and boasted that she was the one who got him fired.

       308.      Inexplicably, Berklee failed to take any action even to inquire into the report of this

retaliatory act, despite the fact that it was potentially harmful to the integrity of the ongoing

investigation.

       309.      Berklee’s failure was particularly stark when compared to its pointing to the policy

against retaliation to refuse to allow Professor Farzinpour to file a sexual harassment complaint

against Ms. Alali.

       310.      Berklee’s use of its retaliation policy to justify suppressing the exercise of Professor

Farzinpour’s rights as a complainant of harassment under the Policy, combined with Berklee’s

refusal to take any action even to inquire into Ms. Alali’s violation of the retaliation policy, and its

harshness in imposing an absolute ban on Professor Farzinpour’s physical presence on campus

during his administrative leave, illustrated Berklee’s bias in investigating the complaint against

Professor Farzinpour, and its predetermination of his guilt.

       311.      After Professor Farzinpour served the suspension that Berklee imposed and

returned to teaching, Ms. Alali and Mr. Marinelli retaliated against Professor Farzinpour by

posting on social media about the case and rebuking Berklee for choosing a sanction that allowed

Professor Farzinpour to return to teaching. Mr. Marinelli’s post named Professor Farzinpour.

       312.      This conduct was retaliation under the Policy, which prohibits retaliation against a

person who “participates in an investigation of possible discrimination,” and defines retaliation as

conduct that “interferes with” that person’s “right to access education and/or work.” Ms. Alali’s

and Mr. Marinelli’s conduct clearly interfered with Professor Farzinpour’s access to work.




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       313.    Yet, Berklee took no action in response to Ms. Alali’s and Mr. Marinelli’s

damaging acts of retaliation, despite Berklee’s clear policy promising that retaliation “will be

subject to discipline pursuant to this policy and the Equity Complaint Process.”

       H. Failure to Conduct a Timely Review of the Complaint

       314.    The Policy promises that it will “conduct a timely review of all complaints and will

endeavor to complete review and resolution within sixty (60) calendar days from receipt of the

complaint to notification of outcomes.” It further promises that “[i]n the event that such time

frames will not be met, the parties will be kept informed.” Berklee’s Policy, supra, at 19.

       315.    Berklee conducted an investigation spanning well over sixty days. Berklee received

the complaint in late July 2019, and Professor Farzinpour first learned of it on July 30, 2019.

       316.    Berklee completed all interviews of parties and witnesses by August 30, 2019.

       317.    However, the Investigator did not issue a final report and outcome until December

13, 2019.

       318.    Berklee did not keep Professor Farzinpour informed that the time frames would not

be met, contrary to what the Policy promised.

       319.    The inexplicable delay caused Professor Farzinpour to lose more than an entire

semester as a professor at Berklee, as he remained on involuntary administrative leave for more

than twice the time that he would have expected given the provided time frame in the Policy.

       320.    Berklee’s delay exponentially harmed Professor Farzinpour’s reputation, as his

absence from teaching had to span three semesters rather than two, and meant that his return to the

classroom was in mid-semester, which was far more conspicuous and disruptive than if it had been

at the beginning of the semester.




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       I. Failure to Conduct Any Process Whatsoever Before Terminating Professor Farzinpour

       321.    The Policy provides for “involuntary termination” as the most severe sanction for

violation of the Policy. Berklee’s Policy, supra, at 16.

       322.    Berklee’s investigation process conducted from late July 2019 to December 13,

2019, resulted in the sanction of suspension for thirty days.

       323.    The Policy promises to conduct a thorough, impartial, and fair process before

reaching any determination on responsibility and imposing any sanction.

       324.    Yet, after Professor Farzinpour fully served his suspension, and less than two

months after his reinstatement, Berklee abruptly terminated Professor Farzinpour.

       325.    The termination resulted from a determination by his department chair, Mr. Carrick,

that Professor Farzinpour had allegedly acted “in conflict with the expectations outlined for you”

in the December 13, 2019 outcome letter.

       326.    The outcome letter had only directed Professor Farzinpour to “consistently conduct

yourself in a manner that upholds the values of the institution and profession: values of respect

and modeling appropriate conduct and interactions both in and outside the classroom.” It had

warned that “any further violations of Berklee policy or standards of conduct, or willful disregard

for expectations, . . . will result in the termination of your employment.”

       327.    The conduct that Mr. Carrick found “in conflict” with “expectations” was that

Professor Farzinpour had answered the queries of students in his class who pressed him to address

Ms. Alali’s and Mr. Marinelli’s public social media posts about him and the posters plastered on

campus naming him. In the course of doing so, Professor Farzinpour had spoken negatively about

Berklee’s unfair investigation process.




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       328.    Neither the outcome letter nor any other communication from Berklee had ever

previously put Professor Farzinpour on notice that he could not speak about his own experience of

Berklee’s investigation process. He had not been aware of violating any rule or expectation by

speaking about his own experience, particularly after the fact of Berklee’s finding of responsibility

had been made public, to his chagrin, in the Boston Globe and in social media postings by the

complainant and her boyfriend.

       329.    The Policy promises that, should “new information come to light that results in the

need to charge the responding party with additional violations, . . . the parties will be provided

with an updated, written letter setting forth the new allegations.” Berklee’s Policy, at 15.

       330.    Professor Farzinpour was never provided with an updated notice or a notice of new

allegations.

       331.    Berklee terminated Professor Farzinpour without any notice or opportunity to be

heard. It did not specify what particular Berklee policy he had violated. Berklee did not explain

how he failed to conduct himself “in a manner that upholds the values of the institution and

profession: values of respect and modeling appropriate conduct and interactions both in and

outside the classroom,” as required in his outcome letter. Berklee did not give him the opportunity

to respond to an allegation that he had violated any “expectation.” It did not conduct any process

through the Equity Office for any Policy violation.

       332.    Termination of employment is the most severe sanction. There was nothing in the

“final written warning” that Professor Farzinpour received in the outcome letter that suggested that

if he were later simply alleged to have violated vague “expectations outlined” there, his rights

under Berklee’s disciplinary policies — notice of allegations, an opportunity to be heard, an

investigation, and fair determination — would simply disappear.



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       333.     In imposing the sanction of termination on Professor Farzinpour without any

process whatsoever, Berklee breached its promise to conduct a thorough, impartial, and fair

process before finding him responsible and imposing a sanction.

       334.     The foregoing violations, individually and in the aggregate, resulted in a process

that was neither fair nor impartial, ultimately resulting in an erroneous finding against Plaintiff,

wrongful suspension, wrongful termination, and the resultant damages to his reputation and

professional career as a musician, a teacher, and an academic.

       335.     As a direct and proximate result of the above conduct, Professor Farzinpour has

sustained tremendous damages, including, without limitation, emotional and psychological

distress, loss of career opportunities, past and future economic injuries, reputational damages, and

other direct and consequential damages.

                                          COUNT III
                                     Denial of Basic Fairness

       336.     Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       337.     Plaintiff’s employment contract with Berklee contained an implied covenant of

good faith and fair dealing. It implicitly guaranteed that any disciplinary proceedings would be

conducted with basic fairness.

       338.     Massachusetts courts have held as part of the implied covenant of good faith and

fair dealing that school disciplinary hearings must be “conducted with basic fairness.” Cloud v.

Trs. of Bos. Univ., 720 F.2d 721, 725 (1st Cir. 1983) (citing Coveney v. President & Trs. of Holy

Cross Coll., 445 N.E.2d 136, 139 (Mass. 1983)); Schaer v. Brandeis Univ., 735 N.E.2d 373, 380

(Mass. 2000).




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       339.    Consistent with the implied covenant of good faith and fair dealing, Berklee’s

Policy also explicitly promises that the “investigation will be thorough, impartial, and fair, and all

individuals will be treated with appropriate sensitivity and respect.” Berklee’s Policy, supra, at 15.

       340.    Thus, Defendants owed a duty to ensure that the proceedings against Professor

Farzinpour were conducted in good faith and with basic fairness.

       341.    In the context of a college discipline process, “there are two principal threads to the

‘fairness’ inquiry. The first is procedural fairness — that is, whether the process used to adjudicate

the matter was sufficient to provide the accused student a fair and reasonable opportunity to defend

himself. The second is substantive fairness — that is, even if the procedure was fair, whether the

decision was unduly arbitrary or irrational, or tainted by bias or other unfairness.” Brandeis Univ.,

177 F. Supp. 3d at 601–02.

       342.    Defendants breached the duty to provide basic fairness when it conducted an

investigation that was so stacked in favor of complainant and against respondent that it denied

Plaintiff any fair chance to defend himself.

       343.    Defendants breached the duty to provide basic fairness when it reached outcomes

that that were irrational and tainted by bias.

       A. Failure to Provide Access to Evidence Collected

       344.    Berklee offered Professor Farzinpour the opportunity to review the evidence it had

gathered in the investigation, only upon its unfair condition that Professor Farzinpour waive his

rights to show the materials to his attorney. Unwilling to waive his right to seek advice of counsel

on the materials for the purpose of challenging the unfairness of the process or of bringing legal

action, Professor Farzinpour did not sign the waiver, and thus was forced to participate in the




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investigation process without access to the evidence that Berklee gathered. He therefore had no

opportunity to respond to that evidence in his defense.

       345.    Berklee did not permit Professor Farzinpour to review any of the evidence until

after it issued the final report and outcome. Professor Farzinpour appeared for two interviews while

in the dark about information that would have aided in preparing his defense. He was not given

the chance to respond to what other witnesses said, or to view the text messages, email messages,

or the Recording, all of which he would have responded to in his defense.

       346.    Having never been able to access the evidence during the investigation, it was only

after the final report and outcome, in his appeal, that he was able to respond to the evidence

gathered and to the many points that the Investigator failed to address.

       B. Failure to Employ a Presumption of Innocence

       347.    Fundamental fairness requires that an accused individual be presumed innocent,

and that Berklee have the burden of proof to establish otherwise.

       348.    Berklee violated this obligation when it presumed Professor Farzinpour guilty from

the outset and operated from the assumption that he was responsible for a violation of the Policy.

       349.    Immediately upon receiving a complaint, Berklee placed Professor Farzinpour on

administrative leave, banned him from teaching, cut off his access to his emails, and told him he

“should refrain from participating in any Berklee activities, whether on or off campus.” Berklee

imposed this blanket measure without giving him any notice or opportunity to be heard. Professor

Farzinpour was not consulted, not allowed to tell his side of the story, and not heard on what

interim measures would be appropriate. He was not determined to be a threat to anyone’s safety.




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       350.    Immediately placing a respondent on administrative leave and banning him from

teaching and from campus before conducting any investigation at all is a breach of a respondent’s

reasonable expectation that he will be assumed not responsible until proven otherwise.

       351.    Berklee further demonstrated its implied use of a presumption of guilt when the

Investigator admitted that she conducted the investigation “through the lens of the student,” the

complainant. By conducting the investigation in this manner, the Investigator unfairly limited

consideration of the viewpoint of the accused party.

       352.    Berklee also revealed its presumption of guilt when the Investigator failed to

interview Professor Farzinpour’s wife and did not permit Professor Farzinpour to access and

review his emails in order to identify potentially exculpatory evidence.

       353.    Berklee’s process presumed Professor Farzinpour was guilty from the time the

complaint was received. The investigation was conducted with the goal of reaching the

predetermined result of finding the accused responsible for sexual harassment.

       C. Failure to Separate Investigation and Adjudication

       354.    The Policy utilizes an “investigator-only” or “single-investigator” model, wherein

one or more investigators interview the parties and witnesses, collect evidence, prepare a report,

and make findings of responsibility, which may only be challenged and reviewed on very limited

grounds. Because this model of combining the roles of investigation and adjudication in one person

or set of people leads to bias and unfairness, it is now unlawful under the Department of

Education’s final Title IX regulations, published on May 19, 2020 and set to be implemented on

August 14, 2020.

       355.    The failure to separate out the investigation and adjudication functions results in an

unfair process. “The dangers of combining in a single individual the power to investigate,



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prosecute, and convict, with little effective power of review, are obvious. No matter how well-

intentioned, such a person may have preconceptions and biases, may make mistakes, and may

reach premature conclusions.” Brandeis, 177 F. Supp. 3d at 606.

       356.    Under the “investigator-only” model, one individual may be “given complete

authority to decide whether the accused [is] ‘responsible’ for the alleged violations,” acting

“simultaneously [as] the investigator, the prosecutor, and the judge who determine[s] guilt.” Id. at

579.

       357.    This “investigator-only” model has been criticized by judges and commentators

because it offers no checks or balances against investigator bias, including unconscious racial or

gender bias; it allows a single individual to act as prosecutor, investigator, judge, and jury

determining guilt; and, crucially, it allows the Investigator to find the accused guilty without ever

affording him a hearing where evidence can be challenged, witnesses questioned, and the parties

cross-examined in some form.

       358.    Pursuant to Berklee’s policies, the Investigator prepares a final report, which

includes a summary of the findings and determination of responsibility. This final report is

submitted to Berklee’s Equity Office for review and for approval by the Chief Equity Officer/Title

IX Coordinator, who is supposed to “oversee each investigation and ensure sufficiency of evidence

gathered, that the facts gathered support the findings, that best practices are followed, and that each

allegation is addressed in the investigator’s summary report,” effectively rubber stamping the

Investigator’s decision and depriving the accused of an adjudication that is independent of the

investigation. Berklee’s Policy, supra, at 16.




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       359.       Professor Farzinpour’s inability to be heard before an impartial, independent

decisionmaker, and to submit to and subject the complainant to questioning in order to test

credibility and truth-telling, substantially prejudiced him and adversely affected the outcome.

       360.       The foregoing constituted Defendants’ violations of Professor Farzinpour’s right to

basic fairness.

       361.       As a direct and proximate result of the above conduct by Defendants, Professor

Farzinpour has sustained tremendous damages, including, without limitation, emotional and

psychological distress, loss of career opportunities, past and future economic injuries, reputational

damages, and other direct and consequential damages.

                                              COUNT IV
                                              ESTOPPEL

       362.       Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       363.       In Massachusetts, a plaintiff alleging estoppel must demonstrate: (1) a

representation intended to induce a course of conduct on the part of the person to whom the

representation was made, (2) an act or omission resulting from the representation by the person to

whom the representation was made, and (3) detriment to the person as a consequence of the act.

Boutilier v. John Alden Life Ins. Co., No. 98-30189-KPN, 2000 WL 1752623, at *9 (D. Mass.

Sept. 29, 2000).

       364.       Berklee’s various policies constitute representations and promises that Berklee

should have reasonably expected to induce action or forbearance by Plaintiff.

       365.       Berklee expected or should have expected Professor Farzinpour to accept its offer

of employment and choose not to pursue employment at other colleges or universities based on its

express and implied promised that Berklee would not tolerate, and Plaintiff would not suffer,

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discrimination or harassment, and would not deny Plaintiff basic fairness in its disciplinary

procedures should he be accused of a violation of Berklee’s policies.

          366.   Plaintiff relied to his detriment on these express and implied promises and

representations made by Berklee, and chose to further his career at Berklee instead of schools of

equal caliber.

          367.   Based on the foregoing, Berklee is liable to Plaintiff based on Estoppel.

          368.   As a direct and proximate result of the above conduct, Plaintiff Farzinpour has

sustained tremendous damages, including, without limitation, emotional and psychological

distress, loss of career opportunities, past and future economic injuries, reputational damages, and

other direct and consequential damages.

                                             COUNT V
                                           NEGLIGENCE

          369.   Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

          370.   In Massachusetts, a Plaintiff must demonstrate that: (1) the defendant owed a duty,

(2) the defendant breached that duty, (3) a causal connection exists between the breach of duty and

(4) plaintiff’s suffering of damages. Adams v. Cong. Auto Ins. Agency, Inc., 65 N.E.3d 1229, 1234

(2016).

          371.   In conducting its investigation and adjudication of Ms. Alali’s complaint against

Plaintiff, Berklee owed a common law duty to exercise reasonable care, with due regard for

uncovering the truth, applying Berklee’s procedures fairly and impartially, appreciating the

severity of charges and potential consequences, and in consideration of Professor Farzinpour’s

fundamental rights to a fair process.




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        372.    Through the acts set forth above, Berklee breached its duty by carelessly,

improperly, and negligently performing its investigation through a process that violated the rights

and interests of Plaintiff.

        373.    Specifically, the College negligently trained and supervised the individuals it

employs to serve as investigators and adjudicators in Title IX disciplinary proceedings, making

them unfit to serve in these critical roles.

        374.    Berklee’s negligent training and selection of its investigators was evident in the

Investigator’s admission that she was conducting the investigation and evaluating the evidence

through the lens of one party, the complainant. As a result, the Investigator failed to conduct the

investigation in the impartial and unbiased manner required by the Policy.

        375.    Moreover, Berklee demonstrated its negligence when it failed to take any action in

response to a clear violation of Professor Farzinpour’s right to confidentiality and freedom from

retaliation in the Title IX disciplinary process.

        376.    Specifically, when Professor Farzinpour reported the false statements made by Ms.

Alali, the College took no action to discipline Ms. Alali for her retaliatory conduct.

        377.    Berklee condoned Ms. Alali’s violation of confidentiality and retaliatory conduct

when it refused to take any action.

        378.    A non-negligent higher education institution conducting a Title IX disciplinary

proceeding would have ensured that its personnel were thoroughly familiar with the rights that its

Policy promised and were capable of carrying out the investigatory procedure in a fair and

impartial manner to ensure a correct outcome.

        379.    As a direct and proximate result of the above conduct, Professor Farzinpour has

sustained tremendous damages, including, without limitation, emotional and psychological



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distress, loss of career opportunities, past and future economic injuries, reputational damages, and

other direct and consequential damages.

       380.     Accordingly, the College is liable to Professor Farzinpour for negligence and for

all damages arising therefrom.

                                  COUNT VI
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       381.     Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       382.     The Defendants’ conduct, as described above, caused Plaintiff mental anguish and

emotional distress.

       383.     Professor Farzinpour’s mental anguish and emotional distress were severe enough

that they might result in bodily harm or illness. Professor Farzinpour’s doctor increased his

medication dosage and prescribed new medications, and he had to receive numerous ketamine

treatments in Los Angeles and New York in order to attempt to treat his depression and migraine

headaches.

       384.     Due to the extreme stress Professor Farzinpour experienced during this unfair

process, Professor Farzinpour suffers from severe depression, anxiety, and migraine headaches,

which impact his daily life. He has been unable to fully perform his duties for ENSEMBLE /

PARALLAX, despite an important and rigorous schedule of events.

       385.     The Defendants’ conduct caused Professor Farzinpour severe and substantial

mental anguish and emotional distress. As a result, Plaintiff suffered from anxiety, depression, and

severe migraine headaches as detailed above.




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       386.    As result of the foregoing, Plaintiff has sustained tremendous damages, including,

without limitation, emotional and psychological distress, loss of career opportunities, past and

future economic injuries, reputational damages, and other direct and consequential damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiff Peyman Farzinpour demands

judgment against Defendants as follows:

       (i)     on the first cause of action for violation of Title IX of the Education

Amendments of 1972, Erroneous Outcome, a judgment awarding Plaintiff damages in an

amount to be determined at trial, including, without limitation, damages to physical well-being,

emotional and psychological damages, damages to reputation, past and future economic losses,

loss of career and performance opportunities, and loss of future career prospects, plus

prejudgment interest, attorneys’ fees, expenses, costs and disbursements, and an injunction

enjoining enforcement of the suspension and his termination, expunging Plaintiff’s records, and

requiring Berklee to destroy all disciplinary records concerning Plaintiff;

       (ii)    on the second cause of action for breach of contract, damages to physical well-

being, emotional and psychological damages, damages to reputation, past and future economic

losses, loss of career and performance opportunities, and loss of future career prospects, plus

prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

       (iii)   on the third cause of action for denial of basic fairness under contract and

common law, a judgment awarding Plaintiff damages in an amount to be determined at trial,

including, without limitation, damages to physical well-being, emotional and psychological

damages, damages to reputation, past and future economic losses, loss of career and




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performance opportunities, and loss of future career prospects, plus prejudgment interest,

attorneys’ fees, expenses, costs and disbursements;

       (iv)    on the fourth cause of action for estoppel, a judgment awarding Plaintiff

damages in an amount to be determined at trial, including, without limitation, damages to past

and future economic losses, loss of educational and career opportunities, loss of future earning

capacity, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

       (v)     on the fifth cause of action for negligence, a judgment awarding Plaintiff

damages in an amount to be determined at trial, including, without limitation, damages to past

and future economic losses, loss of career and performance opportunities, loss of future earning

capacity, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements; and

       (vi)    on the sixth cause of action for negligent infliction of emotional distress, a

judgment awarding Plaintiff damages in an amount to be determined at trial, including, without

limitation, damages to past and future economic losses, loss of career and performance

opportunities, loss of future earning capacity, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements; and

       (vii)   a declaratory judgment, pursuant to 28 U.S.C. § 2201, declaring that: (i) the

outcome and findings made by Berklee be reversed; (ii) Plaintiff’s reputation be restored; (iii)

Plaintiff’s disciplinary record be expunged; (iv) the record of Plaintiff’s suspension be removed

from his file; (v) the record of Plaintiff’s termination be removed from his file; (vi) any record

of the complaint against Plaintiff be permanently destroyed; (vii) Plaintiff be reinstated to

employment as an Associate Professor at Berklee; and (viii) Plaintiff be awarded such other and

further relief as the Court deems just, equitable and proper.




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                                        JURY DEMAND

      Plaintiff herein demands a trial by jury of all triable issues in the present matter.



Dated: Boston, Massachusetts
      May 26, 2020


                                             Respectfully submitted,

                                             NESENOFF & MILTENBERG, LLP
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